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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 STATE OF ILLINOIS,

               Plaintiff,
                                                   Case No. 17-cv-6260
        v.
                                                   Judge Rebecca R. Pallmeyer
 CITY OF CHICAGO,

               Defendant.


               COMPREHENSIVE ASSESSMENT, PART II (AMENDED)

        The Independent Monitor Margaret A. Hickey and the Independent Monitoring Team sub-
mit the attached Comprehensive Assessment, Part II (amended). This is an amended version of the
original filing, which removes the word “draft” from the header of the report.


Dated October 11, 2024                             /s/Margaret A. Hickey
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                                CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that, on October 11, 2024, she caused a true and correct
copy of the foregoing Comprehensive Assessment, Part II (amended) to be filed electronically
with the Court’s CM/ECF system, which caused an electronic copy of this filing to be served on
counsel of record.


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             INDEPENDENT MONITORING TEAM
              Comprehensive Assessment, Part II




                                                          Report Date: October 11, 2024
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     Introduction
     As the Independent Monitoring Team (IMT), we assess the City of Chicago’s (City’s)
     compliance with the requirements of the Consent Decree. Specifically, we assess
     how relevant City entities—including the Chicago Police Department (CPD); the
     Civilian Office of Police Accountability (COPA); the Chicago Police Board; and the
     Office of Emergency Management and Communications (OEMC)—are complying
     with the Consent Decree.1

     The Consent Decree requires the IMT to conduct a comprehensive assessment of
     progress under the Consent Decree.2 We filed Comprehensive Assessment, Part I
     on November 1, 2023, as part of Independent Monitoring Report 8.3 Part I ad-
     dressed “whether and to what extent the City and CPD are in compliance” with
     the Consent Decree, including “areas of greatest progress and achievement, and
     the requirements that appear to have contributed to these achievements, as well
     as areas of greatest concern.” ¶¶657–58.

     This report, Comprehensive Assessment, Part II, includes

     •   whether the outcomes intended by the Consent Decree are being achieved;
         and

     •   whether any modifications to the Consent Decree are necessary “in light of
         changed circumstances or unanticipated impact (or lack of impact) of the re-
         quirements,” including strategies for accelerating full and effective compli-
         ance.4

     While this report includes our recommended modifications, the IMT may not uni-
     laterally modify the Consent Decree. See, e.g., ¶696. That authority rests with the

     1
         As a party to the Consent Decree, the City is ultimately responsible for compliance. See ¶720.
         Unless otherwise specified, our references to the City typically include its relevant entities. See
         ¶736. The Office of the Inspector General and the Deputy Public Safety Inspector General
         (PSIG) achieved Full compliance with all relevant Consent Decree requirements in the fourth
         reporting period and maintained compliance for the required two years.
     2
         See ¶¶657–59. See Stipulation Regarding Search Warrants, Consent Decree Timelines, and the
         Procedure for “Full and Effective Compliance,” Illinois v. Chicago, Case No. 17-cv-6260 (March
         25, 2022), https://cpdmonitoringteam.com/wp-content/uploads/2024/03/2022.03.25-Stipu-
         lation-Regarding-Search-Warrants-Consent-Decree-Timeline.pdf.
     3
         As in previous monitoring reports, Independent Monitoring Report 8 provided details to the
         Court and the public on compliance efforts through June 30, 2023. See Independent Monitor-
         ing Report 8 and Comprehensive Assessment, Part I, INDEPENDENT MONITORING TEAM (November
         1, 2023), https://live-chicago-imt.pantheonsite.io/wp-content/uploads/2024/09/2023.11.01-
         Independent-Monitoring-Report-8-and-Comprehensive-Assessment-Part-I-website.pdf.
     4
         The IMT provided the Parties with earlier drafts of this report in December 2023, June 2024,
         September 2024, and October 2024.


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     Parties to the Consent Decree—the City and the Office of the Illinois Attorney Gen-
     eral (OAG)—subject to the approval of the Court. And in response to our assess-
     ment, the Parties may move for the Court to modify the Consent Decree. See ¶659.

     Introduction, Figure 1.
     The Consent Decree’s Comprehensive Assessment Process (¶¶657–59)




     We have separated Comprehensive Assessment, Part II into three sections to ad-
     dress the remaining requirements of ¶¶657–59:

     Section I.     Whether the Outcomes Intended by the Consent Decree Are Being
                    Achieved

     Section II.    Strategies for Accelerating Full and Effective Compliance; and

     Section III.   Proposed Modifications to the Consent Decree.

     Specifically, in Section I, we summarize the events leading up to the Consent De-
     cree and metrics for whether the CPD is achieving the outcomes intended by the
     Consent Decree, including indicators of community sentiments. Unlike our moni-
     toring reports, which each focus on six-month intervals, this comprehensive as-
     sessment considers all compliance efforts and feedback to date, including efforts
     from previous administrations and leadership.

     To conduct our comprehensive assessment and develop recommended changes
     to the Consent Decree, we considered all compliance efforts under all sections of
     the Consent Decree to date. We also considered feedback from community mem-
     bers and stakeholders since the beginning of the Consent Decree. Specifically, we
     considered feedback—often conflicting—from the City, the OAG, the Court, col-
     lective bargaining units, CPD officers and personnel, and other community mem-
     bers and stakeholders during site visits, meetings, and individual conversations.
     During recent public hearings in 2023, for example, the Court, the City, the OAG,




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     and the IMT heard feedback from community members related to the comprehen-
     sive assessment.5

     In sum, and as demonstrated by our monitoring reports, the existing terms of the
     Consent Decree require the City and the CPD to do more to achieve the outcomes
     intended by the Consent Decree.6

     In Section II, we provide strategies for accelerating full and effective compliance
     with the existing Consent Decree language: (1) increased communications, includ-
     ing technical assistance and improved review procedures for policies, trainings,
     and plans; (2) increased, unobstructed access to City and CPD policies, practices,
     data, and personnel; and (3) expedited procedures for methodologies and achiev-
     ing compliance.7

     In Section III, we summarize the areas of greatest concern and provide our pro-
     posed recommended modifications to the Consent Decree to facilitate compliance
     with both the terms and spirit of the Consent Decree.

     The Consent Decree is a product of years of discussion, effort, and lessons learned
     from engaged community members and dedicated personnel from the City, the
     CPD, other City entities, the OAG, and the Court. In negotiating the Consent De-
     cree, for example, the Parties “consulted with community leaders, community
     members, police officers, police officer unions, civilian CPD members, advocates,
     and other concerned individuals who offered meaningful insights and recommen-
     dations for change.” ¶7. As a result, the Consent Decree “reflects the broad input
     received by the Parties from the diverse communities that make up the City of
     Chicago.” Id.

     For these reasons, we have not recommended changes to expand, shrink, or oth-
     erwise significantly alter the original intentions of the Consent Decree. Instead,
     all of our recommendations are intended to

     (1) accelerate full and effective compliance with existing requirements and

     (2) achieve and sustain the intended results with the original terms of the Consent
     Decree. See ¶¶657–59.


     5
         Once available, the Court permits the IMT to post transcripts of public hearings on the IMT’s
         website: https://cpdmonitoringteam.com/reports-information/.
     6
         Our monitoring reports are also available on our website: https://cpdmonitoringteam.com/re-
         ports-information/.
     7
         Paragraph 682, for example, provides the following requirements regarding IMT access: “682.
         The Monitor will have access to all individuals, facilities, trainings, meetings, disciplinary pro-
         ceedings, reviews, and incident scenes that the Monitor reasonably deems necessary to carry
         out the duties assigned to the Monitor by this Agreement. The City will ensure that it facilitates
         the Monitor’s access in a prompt, cooperative, and unobstructive manner.” Emphasis added.


                                                       3
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     To develop our recommendations, we collected comments and recommendations
     from all sources, including from the City, the City’s entities, the OAG, the Coalition,
     and other community stakeholders and individual members of the public. The IMT
     then considered the potential recommendations with all IMT Associate Monitors
     and members to identify recommendations that (1) are consistent across sections
     to facilitate full and effective compliance and (2) provide Chicago with the policing
     reforms and outcomes intended by the Consent Decree. The IMT considered in-
     ternal and external feedback on the merits of each comment and recommenda-
     tion. There were a few close calls on whether to recommend certain changes, and
     in general, tough decisions were decided in favor of keeping the original Consent
     Decree language agreed to by the City, the CPD, and the OAG and approved by the
     Court.

     The IMT understands that the City, the OAG, and community members may disa-
     gree with some of the IMT’s recommendations—including decisions not to make
     additional recommendations. Importantly, this report does not include any recom-
     mended improvements that do not relate to Consent Decree modifications. As
     many community members and City and CPD personnel have identified, the Con-
     sent Decree reflects the minimum requirements for police reform in Chicago. The
     City, the CPD, and Chicago’s communities may pursue paths and partnerships to-
     ward improvements that are outside the scope of the Consent Decree.

     For example, in 2019—the same year as the start of the Consent Decree—the Po-
     lice Executive Research Forum (PERF) made various observations and recommen-
     dations related to the CPD’s homicide investigation process.8 Since then, the CPD
     has undertaken efforts to address those recommendations. The CPD’s homicide
     investigation process is related to Consent Decree requirements, including the
     CPD’s need to ensure that its “community policing philosophy[, including trust, le-
     gitimacy, and collaboration,] is a core component of its provision of police services
     [and] crime reduction strategies.” ¶10. But there is another oversight body that
     monitors the CPD’s progress, and the CPD has committed to increasing transpar-
     ency on these reform efforts and releasing progress reports without any modifica-
     tion to the Consent Decree. As a result, we do not believe that it is necessary to
     incorporate the 2019 PERF recommendations into the Consent Decree.

     Ultimately, the recommendations in this report are those that we support the Par-
     ties incorporating into the Consent Decree. Specifically, we divided our recom-
     mended modifications to the Consent Decree into two categories: (1) updates and
     (2) clarifications.



     8
         See Review of the Chicago Police Department’s Homicide Investigation Process, POLICE EXECUTIVE
         RESEARCH FORUM (October 2019), https://home.chicagopolice.org/homicideclearancere-
         port2019/.


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     Recommended updates include substantive changes to requirements that the IMT
     believes will accelerate full and effective compliance and help achieve and sustain
     the original intended results of the Consent Decree.

     To determine the “intended results” of the Consent Decree, the IMT looked to the
     Consent Decree’s “guiding principles,” which were “intended to provide the Court,
     the Monitor, and the public with the context for the subsequent substantive re-
     quirements of this Agreement and the overall goals for each section” of the Con-
     sent Decree. See ¶757.

     The recommended updates also include ways to better address areas of greatest
     concern, including potential discriminatory practices related to uses of force and
     traffic stops. The recommended updates also include adding procedures for ongo-
     ing reforms that are occurring without sufficient transparency, awareness, or trust-
     building processes. We have provided a table summarizing our recommended up-
     dates below. See Introduction, Figure 1. IMT’s Recommended Consent Decree Up-
     dates.

     Recommended clarifications, in comparison, are intended to clarify existing re-
     quirements (including incorporating requirements and processes described in sub-
     sequent Stipulations to the Consent Decree); remove redundancies; avoid existing,
     recurring, or future disagreements on interpretation; and improve clarity and
     transparency. These include, for example, clarifying existing requirements or add-
     ing specific and tangible paths toward compliance, such as updating terms and
     responsibilities for new divisions and entities (e.g., the CPD’s Tactical Response and
     Evaluation Division (TRED) and the City’s Community Commission for Public Safety
     and Accountability (CCPSA)).

     In our view, the substance underlying the recommended clarifications are already
     included in the Consent Decree. Even if these recommendations are not adopted,
     we believe that going through the process of considering and discussing these rec-
     ommended modifications will inevitably help the Parties and the IMT have a better
     common understanding of current requirements.

     Our assessment efforts and this report have aimed to focus on meaningful modi-
     fications to the Consent Decree that facilitate compliance. There are likely multiple
     ways to incorporate those changes, such as removing, adding, or revising lan-
     guage. Our rough estimate is that if the Parties sought to incorporate all our rec-
     ommendations into the 11 substantive sections of the Consent Decree, the Parties
     would modify about 125 paragraphs, including updates to about 30 paragraphs
     and clarifications to about 100 paragraphs (with some paragraphs having both).
     We believe that such modifications can and should be done in a way that ensures
     the number of monitorable paragraphs remains at or near the existing number
     (629).



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     The City and the OAG may choose to incorporate all, some, or none of our recom-
     mendations. Subject to the approval of the Court, they may also choose to incor-
     porate separate or unrelated modifications to the Consent Decree at any time. See
     ¶696 (“OAG and the City may jointly agree to make changes, modifications, and
     amendments to this Agreement, which will be effective if approved by the Court.
     Such changes, modifications, and amendments to this Agreement will be encour-
     aged when the Parties agree, or where the Monitor’s reviews or audits demon-
     strate that an Agreement provision as drafted is not furthering the purpose of this
     Agreement or that there is a preferable alternative that will achieve the same pur-
     pose.”).

     Ultimately, we will work to ensure that any modifications made to the Consent
     Decree will serve the best interest of Chicago’s communities and promote more
     efficient paths toward full and effective compliance.




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                         Introduction Figure 1: IMT’s Recommended Consent Decree Updates
                                     Global                                                                            Community Policing
•   Add requirements related to probable cause traffic stops (See Guiding Princi-        •   Develop a plan to release complete, accurate, and timely reports on the
    ples ¶¶8 – 10, 49–51, 83–85, 265–68, 342–46, 377, 379, 419–23, 566)                      Community Policing Advisory Panel (CPAP) recommendations.
•   Specify procedures to ensure consistent, progressive discipline                          (See Guiding Principles ¶¶8–10)
    (See Guiding Principles ¶¶51, 250, 267, 345–46, 377, 419–23)                         •   Ensure efficient coordination between the CPD, the Districts Advisory Coun-
•   Incorporating the CCPSA into the Consent Decree.                                         cils, and the District Councils. (See Guiding Principle ¶10)
    See, e.g., ¶¶525, 532 – 33, 565. (See Guiding Principles ¶¶422)                      •   Reflect changes to the City’s use of School Resource Officers (and ensure that
•   Specify path for compliance with the Police and Community Relations Im-                  all CPD officers—regardless of unit—are sufficiently trained to interact with
    provement Act (PCRIA), 50 ILCS 727/1-1 (See Guiding Principles ¶¶419–23)                 youth consistent with Consent Decree requirements, best practices, and CPD
•   Specify Coalition procedures See ¶709.                                                   and community expectations).
•   Provide community members with access to observe CPD trainings                           (See Guiding Principle ¶¶8, 10–11 )
    (See Guiding Principles ¶¶10, 51, 268)
                               Impartial Policing                                                                       Crisis Intervention
•   Provide guidance and ensure that the Impartial Policing paragraphs are un-           •   Add a clear path for the City and the OEMC to define “timely response” for
    derstood to be written to avoid conflict with the CCPSA’s jurisdiction                   the purpose of responding to calls for service identified as involving individu-
    (See Guiding Principles ¶¶49–50)                                                         als in crisis. See ¶107. (See Guiding Principles ¶¶85–86)
•   Reflect that the CPD has its own permanent Language Access Coordinator               •   Publish Crisis Intervention data—regarding the number and types of inci-
    position (Special Order S02-03). See ¶65.                                                dents involving individuals in crisis and responses of CPD officers. See ¶120.
    (See Guiding Principles ¶¶49–50)                                                         (See Guiding Principles ¶¶83, 85)
                                                                                         •   Consider revisions to Consent Decree requirements, with input from the Chi-
                                                                                             cago Council on Mental Health Equity (CCMHE), to ensure the CCMHE can
                                                                                             consistently and efficiently serve the purposes intended by the Consent De-
                                                                                             cree. (See Guiding Principles ¶¶85–86)
                                                                                         •   Clarify the role of the City’s Crisis Assistance Response and Engagement
                                                                                             (CARE) team or similar responses or programs. See, e.g., ¶131, 139.
                                                                                             (See Guiding Principles ¶¶85–86)
                                                                                         •   Change the definition of “tele-communicators” to include all tele-communi-
                                                                                             cators. See ¶789. (See Guiding Principle ¶85)
                                 Use of Force                                                                                 Training
•   Create realistic expectations for CPD reporting and supervision requirements         •   Update workflow responsibilities for the Training Division and the Training
    in responses to crowds and extraordinary circumstances.                                  Oversight Committee. See ¶275–76.
    (See Objectives ¶¶153, 155–56)                                                           (See Guiding Principle ¶266)
•   Require (1) supervisors to review the firearm pointing officer’s body-worn-
    camera footage and address any deficiencies before the end of the tour of
    duty, and (2) unit commanders to review firearm pointing data to address
    any patterns and trends. (See Objectives ¶¶153, 155–56)
•   Revise the descriptions of Level 1 and Level 2 uses of force to ensure con-
    sistent and accurate reporting. See ¶218. (See Objective ¶156)
•   Revise the timeline for Force Review Board meetings to ensure that the CPD
    has sufficient information and attendance for holistic reviews, discussions,
    and when appropriate, recommendations for improvement. See ¶580.
    (See Objectives ¶¶155–57)
                      Accountability and Transparency                                                     Data Collection, Analysis, and Management
•   Shorten the timeframe for initiating and making reasonable attempts to se-           •   Update ¶570 to reflect current best practices related to data sharing be-
    cure a signed complainant affidavit, including in-person visits, phone calls,            tween the CPD and COPA.
    and other methods. See ¶463. (See Guiding Principle ¶423)                                (See Guiding Principles ¶¶566–67)
•   Ensure that Accountability Sergeants can meet their responsibilities for re-         •   Require a regular audit of the CPD’s electronic system to ensure that it is
    ceiving, processing, and investigating complaints against CPD members by                 valid and reliable.
    making it their only responsibility. (See Guiding Principle ¶423)                        (See Guiding Principles ¶¶566–67)
•   Ensure investigatory and disciplinary records are actually retained electroni-       •   Include specific criteria for the automated electronic system for the early in-
    cally and that discipline recommended for sustained findings is applied con-             tervention system.
    sistently. See ¶¶508 and 514 (See Guiding Principle ¶423)                                (See Guiding Principles ¶¶566–67)
•   Require Bureau of Internal Affairs (BIA) to send the staffing and equipment-         •   Require regular meetings with relevant personnel across City entities to facil-
    needs plans to the Superintendent and District Commander. See ¶524.                      itate the necessary coordination to identify and implement paths toward
    (See Guiding Principles ¶423)                                                            compliance.
•   Require BIA, COPA, and the Police Board to periodically utilize external audi-           (See Guiding Principles ¶¶566–67)
    tors and accreditors to independently demonstrate consistency and fairness.
    (See Guiding Principles ¶423)



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     Section I.
     Whether the Outcomes Intended by the
     Consent Decree Are Being Achieved
     In October 2014, Chicago Police Officer Jason Van Dyke shot and killed Laquan
     McDonald. In April 2015, the Chicago City Council approved a $5 million settle-
     ment to McDonald’s family. In May 2015, a local journalist filed a Freedom of In-
     formation Act (FOIA) request seeking video from the night McDonald was killed.
     After three extensions, the CPD denied the request for the video in August 2015.
     In November 2015, a Cook County judge ordered the City to release the CPD’s
     dashboard camera video. Police Officer Van Dyke was charged with first-degree
     murder hours before the City released some video on November 24, 2015.

     In December 2015, shortly after Mayor Rahm Emmanuel fired police Superinten-
     dent Garry McCarthy, the U.S. Attorney General launched a civil-rights investiga-
     tion into the CPD’s policing practices. The U.S. Department of Justice (DOJ) re-
     leased the results of its investigation in January 2017, finding a longstanding, per-
     vasive “pattern or practice” of civil rights abuses by the CPD. Two separate class-
     action lawsuits followed: Campbell v. City of Chicago and Communities United v.
     City of Chicago.9 Also in December 2015, CPD Police Officer Jason Van Dyke was
     indicted on six counts of first-degree murder.

     In August 2017, the OAG sued the City in federal court, seeking a Consent Decree
     that would address the DOJ’s findings and recommendations. The case was as-
     signed to federal Judge Robert M. Dow, Jr. The OAG then sought input from com-
     munity members and Chicago police officers and negotiated the Consent Decree
     with the City.

     In March 2018, the Parties to the Consent Decree entered into a Memorandum of
     Agreement with a “broad-based community coalition committed to monitoring,
     enforcing, and educating the community about the Consent Decree (‘the Coali-
     tion’),” which “includes the plaintiffs in the Campbell and Communities United law-
     suits.”10 In October 2018, CPD Police Officer Van Dyke was found guilty of second-
     decree murder and 16 counts of aggravated battery and sentenced in January
     2019.


     9
          See Campbell v. Chicago, N.D. Ill. Case No. 17-cv-4467 (June 14, 2017), and Communities United
          v. Chicago, N.D. Ill. Case No. 17-cv-7151 (October 4, 2017).
     10
          See Memorandum of Agreement Between the Office of the Illinois Attorney General and the
          City of Chicago and Campbell v. City of Chicago Plaintiffs and Communities United v. City of
          Chicago Plaintiffs (March 20, 2018), https://www.chicagopoliceconsentdecree.org/Page-At-
          tachments/CPCD/Resources/Memorandum/Executed_MOA.pdf.


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     Judge Dow approved and signed a modified version of the Consent Decree on Jan-
     uary 31, 2019.11 Paragraph 2 of the Consent Decree sets out its overall purpose
     (which has guided and will continue to guide our monitoring efforts):

                2. The State, the City, and the Chicago Police Department . . . are com-
                mitted to constitutional and effective law enforcement. In furtherance
                of this commitment, the Parties enter into this Agreement to ensure
                that the City and CPD deliver services in a manner that fully complies
                with the Constitution and laws of the United States and the State of
                Illinois, respects the rights of the people of Chicago, builds trust be-
                tween officers and the communities they serve, and promotes commu-
                nity and officer safety. In addition, this Agreement seeks to ensure that
                Chicago police officers are provided with the training, resources, and
                support they need to perform their jobs professionally and safely. This
                Agreement requires changes in the areas of community policing; im-
                partial policing; crisis intervention; use of force; recruitment, hiring,
                and promotions; training; supervision; officer wellness and support;
                accountability and transparency; and data collection, analysis, and
                management.12

     On March 1, 2019, the effective date of the Consent Decree, and after a competi-
     tive selection process, Judge Dow appointed Maggie Hickey, a partner at ArentFox
     Schiff LLP, as the Independent Monitor.13 On October 11, 2022, Chief U.S. District
     Judge of the District Court for the Northern District of Illinois Rebecca R. Pallmeyer
     became the presiding judge over the Consent Decree.

     The Consent Decree requires action by the CPD and many other City entities. As
     the Independent Monitor, Ms. Hickey oversees the Independent Monitoring Team




     11
          The long road to the Consent Decree may have been initiated after the murder of Laquan
          McDonald, but members of Chicago’s communities have indicated that they have been calling
          for police reform for decades. Some community members have, for example, pointed to doc-
          umented torture of Black suspects by Commander Jon Burge, the “Marquette 10” police offic-
          ers who accepted bribes from drug dealers in the 1980s, the “Austin 7” police officers who
          extorted money from an undercover FBI agent in the 1990s, and the scandal involving the
          Special Operations Section (SOS) of the CPD in the early 2000s in which CPD officers were
          convicted of kidnapping, theft, burglary, home invasion, and false arrest.
     12
          The Consent Decree is available on the Independent Monitoring Team’s website: https://cpd-
          monitoringteam.com/wp-content/uploads/2024/02/FINAL-CONSENT-DECREE-SIGNED-BY-
          JUDGE-DOW.pdf. See also Resources, CHICAGO POLICE CONSENT DECREE (“Consent Decree Ap-
          proved by the Court on January 31, 2019”), chicagopoliceconsentdecree.org/resources/.
     13
          Judge Dow also appointed Judge David H. Coar, Ret., as a special master. As special master,
          Judge Coar is not a member of the IMT, but he will “help facilitate dialogue and assist the
          [OAG], the City, and other stakeholders in resolving issues that could delay progress toward
          implementation of the consent decree.” About, CHICAGO POLICE CONSENT DECREE, http://chica-
          gopoliceconsentdecree.org/about/.


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     (IMT) and reports directly to Chief Judge Pallmeyer.14 The OAG oversees and en-
     forces the Consent Decree. See ¶694.15

     Below, we discuss the City and the CPD’s progress with (1) status of existing Con-
     sent Decree requirements, (2) indicators of Chicago community sentiments, and
     (3) additional metrics.

     Status of Existing Consent Decree Requirements
     One obvious measure for whether the Consent Decree is achieving its intended
     outcomes is whether the City and its entities are achieving compliance with its
     requirements. As reflected in our latest monitoring report, Independent Monitor-
     ing Report 9 (July 1, 2023–December 31, 2023), the City has made progress related
     to most original requirements in the Consent Decree.16

     The Parties negotiated “Guiding Principles” that “provide the Court, the monitor,
     and the public with the context for . . . substantive requirements of [the Consent
     Decree] and the overall goals for each section.” ¶757. These paragraphs provide
     significant insight into the intended outcomes of the Consent Decree and are es-
     sentially the “spirit” of the Consent Decree. With only 7% of paragraphs in Full
     compliance, however, it is not likely that either of the Parties would argue that
     these principles have been sufficiently demonstrated.

     The City will have to significantly increase its rate of compliance to reach full and
     effective compliance within eight years—a goal that was extended from five years
     due to COVID-19.17



     14
          As the IMT, we (1) monitor the City’s, the CPD’s, and other relevant City entities’ progress in
          meeting the Consent Decree’s requirements and (2) offer assistance to the City, the CPD, and
          other relevant City entities to implement the changes that the Consent Decree requires. Inde-
          pendent Monitor Maggie Hickey and Deputy Monitor Chief Rodney Monroe, Ret., lead the
          IMT. The IMT’s Associate Monitors, in turn, oversee the 11 topic areas of the Consent Decree.
          Our legal team, analysts, subject matter experts, Community Engagement Team, and commu-
          nity survey staff provide support in several ways: by reaching out to and engaging with Chicago
          communities; by providing general administrative support; and by collecting and analyzing pol-
          icies, procedures, laws, and data, including conducting observations and interviews and draft-
          ing reports.
     15
          The Coalition also has certain enforcement rights and meets with the IMT at least quarterly.
          See ¶¶709(a) and ¶669, respectively.
     16
          The IMT provided the Parties with its first draft of Independent Monitoring Report 10 on July
          30, 2024. The IMT anticipates also filing Independent Monitoring Report 10 in or before No-
          vember 2024.
     17
          See Stipulation Regarding Search Warrants, Consent Decree Timelines, and the Procedure for
          “Full and Effective Compliance,” Illinois v. Chicago, Case No. 17-cv-6260 (March 25, 2022),
          https://cpdmonitoringteam.com/wp-content/uploads/2024/03/2022.03.25-Stipulation-Re-
          garding-Search-Warrants-Consent-Decree-Timeline.pdf.


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     Section I, Figure 1. Consent Decree Compliance by December 31, 2023




     Consent Decree requirements vary in number and scope across the sections of the
     Consent Decree. Likewise, the City’s ability to reach compliance has varied across
     sections. The City has achieved at least Preliminary compliance with 88% of mon-
     itorable paragraphs. This reflects significant efforts to reform policies and proce-
     dures across each section of the Consent Decree, as reflected in Figure 2, below.

     Section I, Figure 2:                     Percent of Monitorable Paragraphs by Section
                              with at least Preliminary Compliance by December 31, 202318
                      Community Policing                                           97%
                      Impartial Policing                                           69%
                      Crisis Intervention                                          83%
                      Use of Force                                                 95%
                      Recruitment, Hiring, and Promotions                          100%
                      Training                                                     88%
                      Supervision                                                  86%
                      Officer Wellness and Support                                 97%
                      Accountability and Transparency                              88%
                      Data Collection, Analysis, and Management                    83%

     The section with the lowest rate of at least Preliminary compliance is the Impartial
     Policing section, at about 69%. This section is at the core of what led to the Con-
     sent Decree and what many requirements across sections of the Consent Decree

     18
          This figure does not include the City’s current progress with the Investigatory Stops, Protective
          Pat Downs, and Enforcement of Loitering Ordinances section, because that section does not
          yet have all monitorable paragraphs under review.


                                                      11
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     are meant to address. While the Impartial Policing section is among the smaller
     sections, with fewer than 30 monitorable paragraphs, the requirements are exten-
     sive and require the City to ensure and demonstrate that all policing practices oc-
     cur without prohibited discrimination or bias. This has required significant policy
     and training reviews and revisions and will continue to require community engage-
     ment to identify blind spots and opportunities for improvement. The City and the
     CPD must also make significant efforts to capture and assess relevant data regard-
     ing law-enforcement decisions and continuously identify areas of success and ar-
     eas in need of correction and implement necessary changes.

     In many sections of the Consent Decree, Full compliance often relies on compli-
     ance in other sections of the Consent Decree. As referenced above, for example,
     the City’s and the CPD’s ability to demonstrate impartial policing across its law en-
     forcement decisions will inevitably rely on its ability to implement requirements in
     the Data Collection, Analysis, and Management section.

     Likewise, the City and the CPD—as well as the OAG and the IMT—have focused
     significantly on meeting requirements in the Use of Force section. For example,
     one of the CPD’s most significant accomplishments so far is the implementation of
     the Tactical Review and Evaluation Division (TRED). Since its creation, TRED has
     evolved, adapted, and taken on additional responsibilities to review whether CPD
     tactics are aligning with best practices and the high expectations of CPD officers.19

     Despite significant efforts and progress, and as referenced above, the City and the
     CPD have reached Full compliance with about 7% of monitorable paragraphs. This
     is, in part, because the City’s ability to sufficiently demonstrate, for example, that
     they prohibit and mitigate excessive force in practice—and not just in policy and
     training—relies on reform efforts in the Supervision, Accountability and Transpar-
     ency, and Data Collection, Analysis, and Management sections: The City and the
     CPD must collect, share, analyze, and respond to corresponding data, have suffi-
     cient supervision systems that consistently reflect CPD expectations, and follow
     accountability systems that are reliable and transparent to hold officers accounta-
     ble for excessive force.

     In short, the City must improve its data systems to meet its burden of proof with
     the requirements of the Consent Decree (¶720). And the Consent Decree will not
     end until the “Court finds that the City has achieved full and effective compliance
     with this Agreement and maintained such compliance for no less than two consec-
     utive years.” ¶693. See also ¶¶714–15.




     19
          In response to these new responsibilities, the CPD continues to balance staffing concerns to
          address backlogs and the inefficiencies caused by delayed reviews.


                                                    12
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     To even come close to reaching the existing eight-year expectation, the CPD will
     need to significantly increase its rate of Full compliance by the end of 2024.

     Section I, Figure 4:
     Percent of Monitorable Paragraphs with Full Compliance by December 31, 202320
                      Community Policing                                           6%
                      Impartial Policing                                           0%
                      Crisis Intervention                                          0%
                      Use of Force                                                 11%
                      Recruitment, Hiring, and Promotions                          9%
                      Training                                                     0%
                      Supervision                                                  0%
                      Officer Wellness and Support                                 0%
                      Accountability and Transparency                              17%
                      Data Collection, Analysis, and Management                    7%

     The Accountability and Transparency section is the largest section in the Consent
     Decree and has the highest rate of paragraphs in Full compliance at 17%. In large
     part, this reflects the significant coordination and efforts from the Office of the
     Inspector General, the Deputy Inspector General for Public Safety, and the Police
     Board.

     The remaining gaps in compliance require significant reforms and coordination
     across many City entities, including the CPD, the Civilian Office of Police Account-
     ability (COPA), the Police Board, and the newer Community Commission for Public
     Safety and Accountability (CCPSA). In many ways, these entities operate inde-
     pendently, by design, but the City must ensure that these entities are sufficiently
     aligned to demonstrate a system that is reliable, trustworthy, transparent, and fair.

     Finally, some of the gaps in compliance reflect the fact that many requirements
     are long-term goals. And the Consent Decree acknowledges that some require-
     ments will take years to accomplish. Figure 5, below, provides a snapshot of com-
     pliance levels as of December 31, 2023.21

     The City and the CPD serve a critical function to the safety and wellbeing of Chi-
     cago and Chicago’s communities, and there will always be competing concerns—


     20
          This figure does not include the City’s current progress with the Investigatory Stops, Protective
          Pat Downs, and Enforcement of Loitering Ordinances section, because that section does not
          yet have all monitorable paragraphs under review.
     21
          The figure does not include the new Investigative Stops, Protective Pat Downs, and the En-
          forcement of Loitering Ordinances section. We assessed the City’s compliance with require-
          ments in this section for the first time in the ninth reporting period, and as a result, the com-
          pliance levels do not yet reflect the requirements of the entire section.


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     and often crises—to address. But the City and the CPD must make meaningful ef-
     forts now to accomplish those long-terms goals to achieve full and effective com-
     pliance with the Consent Decree.22




     22
          We have continued to raise, for example, that the City will continue to struggle to reach Full
          compliance across each section of the Consent Decree until there are transparent plans to
          address community policing and engagement; supervision and staffing; and data collection,
          management, and analysis. This includes implementing a comprehensive, consistent, and
          transparent community policing strategy; allocating personnel and resources based on a data-
          driven and transparent staffing study; and improving the scope, accuracy, and efficiency of its
          data collection and reporting systems.


                                                     14
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     Section I, Figure 5.   Consent Decree Compliance through December 31, 2023




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     Indicators of Chicago Community Sentiments
     The Consent Decree is one of the largest and most comprehensive of its kind, and
     the intended outcomes of the Consent Decree are multifaceted. The opinions of
     Chicago’s communities are paramount to whether the outcomes intended by the
     Consent Decree are being met. We have endeavored to hear the voices of Chica-
     goans throughout the monitoring process through a variety of methods, including
     (1) citywide surveys, (2) focus groups, and (3) regular community engagement
     through public meetings and public court hearings, as well as individual meetings
     and conversations.23 By most indications, many Chicagoans are not feeling many
     of the changes that have been made by the City and the CPD so far.

     Critically, the Consent Decree requires the IMT to conduct reliable, representative,
     and comprehensive surveys of a broad, cross-section of members of the Chicago
     community regarding the CPD and must focus on “perceptions of CPD’s services,
     trustworthiness, community engagement, effectiveness, responsiveness, handling
     of misconduct complaints and investigations, and interactions with members of
     the Chicago community.” ¶¶645–46. Designed to meet the requirements of the
     Consent Decree, our surveys are one important way to have resident opinions rep-
     resented in the monitoring process.24 Because these surveys are representative of
     Chicago, they are an important quantitative tool to understand how opinions
     about the CPD shift over time.




     We conducted our first survey between November 2019 and February 2020, be-
     fore several major events, including the COVID-19 pandemic, the ensuing eco-
     nomic crisis, the hiring of a new Chicago Police Superintendent, and the national
     protests and unrest that followed the murder of George Floyd in Minneapolis, Min-
     nesota. Because data collection ended before those events could influence public
     opinion, the first survey findings provided a baseline from which to examine the
     state of police-community relations in Chicago.


     23
          The CPD also provides a Chicago Police Sentiment Dashboard on its website, which is based on
          online surveys: https://home.chicagopolice.org/statistics-data/data-dashboards/sentiment-
          dashboard/.
     24
          The IMT provides several ways for community members to provide input available on the IMT
          website: https://cpdmonitoringteam.com/.


                                                    16
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     The data for the second survey was collected between October 2021 and May
     2022. For an effective comparison, we used the exact questions and survey instru-
     ment from the first community survey in 2019–2020. While it is possible that na-
     tional and international events may have influenced public opinion of the police
     broadly, the survey questions did not refer to such events. This allowed us to do
     an “apples-to-apples” comparison of the results between the two surveys.

     In 2022, the differing perceptions and experiences based on race and ethnicity
     documented in the first community survey report persisted with slight changes.
     White Chicagoans still had the highest proportion of positive responses overall,
     but that positivity in responses was lower than White Chicagoans had in the 2020
     Survey. The gap in the perceptions of police between Latino and Black Chicagoans
     narrowed in 2022 compared to two years ago when Latino Chicagoans had higher
     positive ratings than Black Chicagoans. As in the 2020 Survey, Black Chicagoans still
     gave the least positive and most negative ratings in 2022, though there were fewer
     negative ratings than compared to 2020. The positive perceptions of this group,
     however, did not change and Black Chicagoans were instead more likely to select
     the middle (neutral) response.

     The gap between Young Black Men and the average Chicagoan persisted. Young
     Black Men had, by far, the least positive and most negative perceptions of police
     compared to other groups, including Black Chicagoans in the general sample. Black
     Chicagoans in the general sample answered questions more similarly to Latino Chi-
     cagoans than to Young Black Men. Young Black Men in 2022 answered most of the
     questions similarly to their counterparts in 2020, with a few exceptions where
     Young Black Men were more likely to favor a middle (neutral) response option. A
     notable difference between the Young Black Men samples of 2020 and 2022 was
     the reduced rate of experiencing gun-pointing by a police officer. In 2022, slightly
     over a tenth of Young Black Men respondents had experienced gun-pointing by
     the CPD compared to 19% in 2020, but this rate was still much higher than that of
     the average Chicagoan (by more than six-and-a-half times) and the average Black
     Chicagoan (by more than three times).

     We provide more specific results from the surveys below:

     •   Overall: Race and ethnicity were strongly associated with Chicagoans’ percep-
         tions of and experiences with the CPD, which was consistent with responses
         from the 2020 Survey. Young Black Men, ages 18 to 25, gave the CPD the lowest
         ratings, followed by Black Chicagoans, Latino Chicagoans, and White Chicago-
         ans, who were most positive but considerably less so relative to 2020. In 2022,
         White and Latino Chicagoans had worse perceptions of police than they did in
         2020. Black Chicagoans still had the most negative responses when compared
         to other groups, but rated the CPD better than they did in 2020, with fewer
         negative and more neutral responses. The CPD received a combined positive



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          rating by over 50% of Chicagoans on only 11 of the 54 (20%) ratings questions,
          which was a decrease from the 2020 Survey where 20 of the 54 (37%) ratings
          questions received an overall positive rating.

     •    Overall Police Services: Compared to the 2020 responses of the All Chicagoans
          sample, a lower proportion of Chicagoans said the CPD was doing a “good” or
          “very good” job in both their neighborhood (dropped to 43.6% from 52.2%)
          and citywide (dropped to 28.2% from 34.4%), while a higher proportion said
          that the police were doing a “poor” or “very poor” job in the city as a whole
          (grew to 42.7% from 30.2%).

     •    Effectiveness: Chicagoans rated the CPD both less positively and more nega-
          tively on all Effectiveness questions as compared with the 2020 Survey results.
          The proportion of those who gave “good” or “very good” responses dropped
          by at least 10 percentage points on five out of the seven Effectiveness ques-
          tions.

     •    Community Engagement and Responsiveness: In the 2022 Survey, a lower
          proportion of Chicagoans gave the CPD positive ratings on seven of the nine
          questions about Community Engagement and Responsiveness compared to
          2020.

     •    General Trustworthiness and Procedural Justice: Compared to the 2020 Sur-
          vey results, Chicagoans in 2022 rated police less positively for considering the
          views of people involved when deciding what to do (36.7% in 2020 and 28.6%
          in 2022) and acting ethically (47.6% in 2020 and 42.4% in 2022). Additionally,
          respect for police officers in Chicagoans’ neighborhoods declined by 4% from
          2020.

     •    Contact with the CPD in the Previous 12 Months: In 2022, a lower proportion
          of Chicagoans reported having been in an accident where police came to the
          scene (10.4% vs. 13.3%) or having been stopped by police compared to 2020
          (14.3% vs. 19.1%). However, a higher proportion reported having been inter-
          rogated (4.7% vs. 2.6%) or arrested (5.4% vs. 3.3%) over the past 12 months
          compared to 2020.25


     25
          Black Chicagoans were also four times more likely than White Chicagoans to have reported
          being stopped in a vehicle (27.5% vs. 6.7%) or while walking or standing on the street (12.4%
          vs. 2.8%) over the last 12 months. Thirteen percent of Black Chicagoans reported having been
          arrested in the last 12 months as compared to less than one percent of White Chicagoans
          (0.3%) and nearly six percent of Latino Chicagoans (5.5%). None of the White Chicagoans re-
          ported experiencing gun-pointing by a police officer over the past 12 months. However, 3% of
          Black Chicagoans and 2% of Latino Chicagoans reported having had a gun pointed at them by
          the CPD in the past year. Eleven percent of Young Black Men reported having had a gun pointed




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     •   Trustworthiness and Procedural Justice Based on Contact: A majority of Chi-
         cagoans rated police “good” or “very good” on six of the 10 questions about
         trustworthiness and procedural justice based on recent contact. Specifically,
         Chicagoans said that police officers did a “good” or “very good” job at remain-
         ing calm (62.6%), treating them with respect and dignity (61.7%), treating
         them fairly (60.4%), and answering all of their questions (56.7%). A majority of
         Chicagoans also indicated that they were “satisfied” or “very satisfied” with
         the information police provided during their most recent encounter. However,
         for these 10 questions, four showed decreases of 5% or more in positive re-
         sponses compared with the 2020 Survey, although only one item (related to
         fair treatment during the most recent interaction) was statistically significant.
         By contrast, of the Young Black Men who answered questions about their most
         recent contact, over half (52.5%) rated the CPD “poor” or “very poor” on
         providing a valid reason for stopping them. More than half (54%) also said po-
         lice did a “poor” or “very poor” job expressing concern about their feelings
         during the encounter. Half of Young Black Men (49.4%) also said CPD officers
         did a “poor” or “very poor” job explaining why they had stopped or questioned
         them in a clear way. Similar to result for the All-Chicagoans sample, four of the
         items in this category showed decreases of 5% or more in positive responses
         compared with the 2020 Survey, although changes were statistically significant
         for only two of the items (providing a valid reason for the stop and remaining
         calm).

     •   Misconduct Complaints and Investigations: In 2022, Chicagoans were more
         concerned about harassment as a result of making a complaint against the
         CPD. The percentage who indicated they would be “very worried” or “ex-
         tremely worried” about harassment or other consequences when making a
         complaint increased from 18.9% in 2020 to 24.2% in 2022.

     •   Interactions with Members of the Community: Sixteen percent of Chicagoans
         thought police were doing a “poor” or “very poor” job treating people from
         their neighborhoods fairly. The difference in responses to this question by race
         was stark: Black Chicagoans were 3.5 times more likely to give the CPD a “poor”
         or “very poor” rating (28.3%) on this question than White Chicagoans (8.7%).
         The majority of Chicagoans (52.2%) said the CPD are doing a “poor” or “very
         poor” job at treating members of the Black community fairly. Two out of five
         Chicagoans surveyed also rated the CPD “poor” or “very poor” at treating La-
         tino Chicagoans fairly and treating people experiencing homelessness fairly.




         at them by a Chicago police officer over the past 12 months, over five times the rate of Chica-
         goans overall (under 2%). Ten percent of Young Black Men reported experiencing a use of force
         (other than handcuffing) by a CPD officer, a rate six times greater than all Chicago adults during
         this time period.


                                                      19
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     •    Confidence in Reform: Overall, more Chicagoans in 2022 were “doubtful” or
          “very doubtful” that police reform would have a lasting and positive effect
          compared to 2020 (43.2% vs. 33.1%). For White Chicagoans, the difference be-
          tween 2022 and 2020 was a 20.9% increase for those who indicated “doubtful”
          or “very doubtful” on this question (increasing from 28% in 2020 to 49% in
          2022). Black Chicagoans had a similar response pattern for both surveys with
          44% indicating “doubtful” or “very doubtful” in 2022 and 45.6% in 2020. Young
          Black Men also responded similarly to the other groups: 47% expressed low
          confidence in the potential for lasting and positive changes within the CPD.
          This percentage was about the same in 2020 as well.

     Section I, Figure 6.
     Comparison of positive CPD ratings in the two IMT citywide community surveys




     Because it is crucial to hear community voices consistently throughout the moni-
     toring process, we have also conducted separate, special studies of Chicago’s com-
     munities during years we are not conducting the citywide, representative commu-
     nity surveys. Specifically, building on some of the key findings from our citywide
     surveys, and per Consent Decree ¶665, we conducted a series of focus groups with
     Black and Latino men in Chicago ages 18–35 between December 2020 and June
     2021, and conducted a series of focus groups with Black and Latina women in Chi-
     cago ages 18-49 between November 2021 and February 2023.26



     26
          See Special Report: Focus Groups with Black and Latino Men, Ages 18–35 (Conducted Decem-
          ber 2020 – June 2021), INDEPENDENT MONITORING TEAM (September 1, 2022), https://cpdmoni-
          toringteam.com/wp-content/uploads/2024/04/2022.09.01-IMT-Special-Report-Focus-
          Groups-with-Black-and-Latino-Men-._.pdf. See also Independent Monitoring Report 7, INDE-
          PENDENT MONITORING TEAM (June 29, 2023) at 30 (“Focus Groups with Black and Latina Women




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     The focus groups served as a qualitative complement to some of the key findings
     from our first citywide, representative survey, which reflected that young Black
     and Latino men in Chicago reported having the highest frequency of contact with
     police, the most negative perception of police, and lowest levels of trust in police.
     The information from the focus groups went beyond the 2020 IMT Community
     Survey by providing a clearer sense of why members of these populations have
     more negative perceptions of police and lower levels of trust in police.

     Overall, participants from the focus groups generally indicated strong negative per-
     ceptions of police, a lack of trust in their ability to carry out their expected roles
     while respecting individuals’ rights, and a sense that officers treat people differ-
     ently based on their race or the neighborhood they live in.

     Although rare, some participants in the focus group with men provided positive
     accounts of interactions with police. More participants, however—including par-
     ticipants who gave positive feedback—gave accounts of experiencing and observ-
     ing frequent negative interactions with police.27

     According to feedback from these participants, the cumulative effect of repeated
     negative personal experiences with officers significantly hinders trust building.
     Some participants described that communities need police, but distrust was
     among the strongest theme in terms of the forcefulness and frequency of re-
     sponses from focus-group participants. Some participants recounted situations in
     which they believed the police were ineffective, failed to act, arrived too late to be
     helpful, or did not respond at all. Participants who described these situations often
     felt that the CPD was unresponsive to the community.

     Still, many participants reported having repeated, frequent, involuntary contact
     with police, and some participants indicated having up to 30 involuntary interac-
     tions with police in the past year. Many participants described incidents that in-
     volved a similar pattern: a traffic stop of a young adult man in a vehicle for a minor
     non-moving violation—such as a hanging air freshener or the degree of a window
     tint—followed by a perceived improper search of the vehicle, and after the search
     does not turn up anything, there is no citation for the initial infraction.




          (November 2021 – February 2023)”), https://live-chicago-imt.pantheonsite.io/wp-con-
          tent/uploads/2024/09/2023.06.29-Independent-Monitoring-Report-7-filed.pdf. See also
          Elucd, Chicago Police Sentiment Dashboard, CHICAGO POLICE DEPARTMENT (last visited June 21,
          2024),      https://home.chicagopolice.org/statistics-data/data-dashboards/sentiment-dash-
          board/.
     27
          One participant, for example, described witnessing an officer save a gunshot victim’s life, but
          also described witnessing officers “beat” his brother while his brother was in handcuffs. In
          fact, many focus-group participants described that most interactions they have had with the
          CPD are negative, even when the interactions end without law-enforcement actions.


                                                     21
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     Moreover, consistent with the 2020 IMT Community Survey, many participants of
     the focus group with men reported that officers frequently take out and point guns
     at them during interactions. Some participants said that they believe officers take
     out or point guns because officers feel afraid of a real or perceived threat or be-
     cause officers want to force compliance, demonstrate authority, or instill fear. Like-
     wise, many participants described that they avoid officers out of fear and that they
     believe there is mutual fear between police and young Black and Latino men,
     which can create dangerous consequences during involuntary interactions and im-
     pede building mutual trust.

     Overall, women focus-group participants shared mostly neutral to negative senti-
     ments toward the CPD. Participants rarely raised positive, friendly interactions be-
     tween officers and community members. During their recent interactions with po-
     lice, women reported less physical force from the CPD towards women than they
     perceived for men, and unlike for women focus-group participants did not report
     experiencing gun-pointing by CPD officers. Additionally, many participants stated
     that the CPD is too tough, too physical, and too aggressive in their interactions
     with fellow community members.

     The majority of women participants based their perceptions on general senti-
     ments towards the CPD in their neighborhoods and on their experiences with in-
     adequate police response. Many participants expressed the sense that CPD offic-
     ers did not put adequate efforts into solving crime and helping community mem-
     bers who reached out to the police. Participants reported other concerning police
     behavior, such as ignoring women for long periods of time without providing in-
     formation and minimizing harm or the threat of harm that women reported to the
     police.

     The IMT’s third citywide survey is currently under review, and the IMT will file the
     report with the Court and post it on our website in 2024.

     Additional Considerations
     One key goal of the Consent Decree process is for the CPD to become self-regu-
     lated and accountable by proactively identifying and addressing potential prob-
     lems in accordance with federal, State, City, CPD, and community requirements
     and expectations.

     The toll of ineffective policing and police misconduct can be enduring and wide-
     spread, impacting the overall health of Chicago and Chicago’s communities and
     officers. While the true weight of undermining the trust and confidence in policing
     may be impossible to quantify, the monetary cost of settlements and court awards
     related to police misconduct have been massive.




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     Paragraph 548 of the Consent Decree requires the City to produce annual reports
     on CPD litigation.28 As reflected in Section I, Figure 7, below, these reports demon-
     strate that the known costs are enough to warrant reform and ongoing improve-
     ment.

     Section I, Figure 7. Annual City Payouts for Chicago Police Department Litigation

                   Year      Settlements      Court Awards        Totals

                   2019      $20,751,500      $26,034,100         $46,785,600

                   2020      $20,673,840      $19,786,586         $40,460,426

                   2021      $50,102,651      $73,096,734         $123,199,385

                   2022      $81,332,845      $4,956,858          $86,289,703

                   2023      $55,477,599      $25,976,310         $81,453,909

     It is important to note that these costs are also imperfect estimates of the true
     costs related to police-misconduct-related allegations. For example, putting aside
     the fact that not all misconduct is reported, court awards and settlements are still
     often approximations by courts, statute, legislators, and attorneys. Settlements,
     for example, are often compromises that must consider risk mitigation and the
     baseline cost of litigation—while acknowledging that a trial would likely lead to a
     different result.

     Moreover, the payouts often do not correspond to the years that any misconduct
     occurred, because the process often take years from the time of an incident to
     reach settlement or court award. In the City Of Chicago’s 2023 Report On Chicago
     Police Department Litigation Report, its latest, the City provided additional details
     that demonstrate the fact that even the cost of old allegations remain uncertain,
     as about 63% of these costs (or about $51.5 million) related to reversed convic-
     tions—rather than allegations of more recent misconduct. See Section I, Figure 8,
     below.




     28
          The litigation reports are available on the City of Chicago’s website: https://www.chi-
          cago.gov/city/en/depts/dol/supp_info/CPDAnnLitReports.html


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     Section I, Figure 8.      2023 City Payouts for Chicago Police Department Litigation29

            Type                            Type           Total Amount       % of Total Payout

            Reversed Conviction             4              $51,500,000        63.2%

            Use of Force                    22             $14,014,399        17.2%

            Vehicle Pursuit                 9              $5,973,750         7.3%

            Other                           3              $5,087,500         6.2%

            Unlawful Pretrial Detention     14             $2,573,310.20      3.2%

            Unlawful Search and Seizure     14             $1,263,200         1.6%

            False Arrest                    17             $936,750           1.2%

            Malicious Prosecution           1              $75,000            .09%

                                    Total   84             $81,423,909.20     100%


     As a result, this means that any recent reforms and improvements may not be re-
     flected in these costs. But it also means that ongoing delay toward reform or im-
     provements may continue to have substantial costs for the City for years to come.
     In other words, the recent annual payouts for Chicago may not accurately reflect
     the CPD’s current practices, but the litigation costs will emerge in the years to
     come. We hope that, through implemented reforms, the City, the CPD, and Chi-
     cago’s communities find reason to have increased confidence in the CPD’s policies,
     training, and practices, and that as a result, these costs substantially and sustain-
     ably decrease.

     The Consent Decree requires the Chicago Police Department to police our com-
     munities constitutionally and within the laws of our city, state, and nation. These
     payouts reflect the stark reality that the City and the CPD have a long history and
     need to accelerate efforts to achieve the constitutional policing our neighbors de-
     serve and that the Consent Decree requires.

     Over the years, there have been many calls on the Court and the OAG to push for
     additional sanctions toward the City and the CPD for failures to reach compliance
     with the Consent Decree. Ultimately, the City remains “responsible for providing
     necessary and reasonable financial resources . . . to fulfill its obligations under this
     Agreement.” ¶700. This means providing resources to support and demonstrate
     constitutional and effective policing, including resources toward staffing, recruit-
     ment, equipment, training, supports, community engagement, and data collection


     29
          City of Chicago’s 2023 Report on Chicago Police Department Litigation, CITY OF CHICAGO DEPART-
          MENT OF LAW (June 2024) at 8, https://www.chicago.gov/content/dam/city/depts/dol/CPDLiti-
          gationReports/City%20of%20Chicago%20Report%20on%202023%20CPD%20Litigation.pdf.


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     and analysis. Fortunately, the costs of these reforms are nowhere near as costly as
     settlements and court awards associated with police misconduct.

     In the following sections, we offer strategies and recommended changes to the
     Consent Decree to expedite reform.




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     Section II.
     Strategies for Accelerating
     Full and Effective Compliance
     While the City denied the claims in the OAG’s Complaint that led to the Consent
     Decree, the City entered the Consent Decree “because the City is committed to
     continual improvement in the delivery of police services, and in order to avoid
     protracted and expensive litigation.” In agreeing to the significant and extensive
     requirements in the Consent Decree, the City and the OAG made significant strides
     toward improving police services in Chicago. Since then, the City and the OAG have
     often worked collaboratively to meaningfully effectuate those reforms. Through
     such collaboration—often through difficult conversations with significant disa-
     greement—the Parties have frequently reached resolutions that both sides agree
     are improvements over the previous status quo.

     On the other hand, there have also been many instances where the process has
     more closely resembled slow and costly litigation. But this is not litigation, and we
     believe the recent emphasis on collaboration has been necessary, should continue,
     and should be made permanent. This includes an increased ease of access to City
     and CPD personnel, records, data, plans, and candor regarding internal and exter-
     nal challenges. While the Consent Decree currently requires this access, we believe
     that some changes to Consent Decree processes can help facilitate cooperation
     while removing some unnecessary processes, including some that were necessary
     at the beginning of the Consent Decree but have since served their purpose.

     Specifically, since starting his position in September 2023, CPD Superintendent
     Larry Snelling increased collaboration, which paid clear dividends in the CPD’s abil-
     ity to implement its new policies, training, and plan for the 2024 Democratic Na-
     tional Convention. We hope that this collaboration continues and demonstrates
     improvements across the board. To ensure that this progress continues—and sur-
     vives any changes in personnel or positions within the City, the CPD, the OAG, the
     IMT, or the Court—we have recommended revising Consent Decree processes to
     incorporate strategies for increased and permanent collaboration. Many of these
     recommendations are simply clarifications of what is already working. Other rec-
     ommendations, however, are an attempt to expand what is working and replace
     processes that are slowing progress.

     In addition to the updates and clarifications across each section, described in Sec-
     tion III below, we a summarize the following strategies for increased collaboration
     below:




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     •    Increased communications, including technical assistance, streamlined re-
          sponses to data requests, and improved review procedures for policies, train-
          ings, and plans;

     •    Increased, unobstructed access to City and CPD policies, practices, data, and
          personnel (see ¶682); and

     •    Expedited procedures for methodologies and achieving compliance.

     Increased communications, including technical assistance, streamlined
     responses to data requests, and improved review procedures for policy,
     trainings, and plans

     The Parties and the IMT have met on different cadences since the beginning of the
     Consent Decree. In the first few years of the Consent Decree, for example, the CPD
     attempted to meet with the OAG and the IMT at least twice a month for each sec-
     tion of the Consent Decree. This eventually changed to once a month for each sec-
     tion of the Consent Decree—except for the Data Collection, Analysis, and Manage-
     ment section, where meetings were even less frequent. These meetings have
     tended to include long agenda items, static presentations, and a lot of participants.
     For this reason, these meetings often do not lend themselves well to open and
     candid dialogue. As a result, many sections make more efficient progress through
     separate, ad hoc meetings with smaller agendas and fewer attendees.

     We believe that the larger monthly meetings continue to serve an opportunity to
     reach internal and external consensus. In late 2023, we recommended, for exam-
     ple, including recurring agenda items that address the status of all outstanding
     requests for data and information—with the expectation that the requests will be
     responded to by the following monthly meeting. The old request and response
     process relied too heavily on people who are separated from the purpose of the
     request and the custodians of the data or information. There were several occa-
     sions, for example, where CPD members would agree to send information in re-
     sponse to a request from the IMT, but sometimes weeks or months after the re-
     quest, the IMT will receive a response that the information is unavailable, that the
     request is unclear, or that the information is “confidential.”30 Likewise, adding re-
     quests to an already long list of responsibilities for City and CPD personnel can

     30
          As referenced above, the Consent Decree process is not litigation, and the IMT is a representa-
          tive of the Court. Confidentiality is not a reason to withhold information during the Consent
          Decree process. See ¶¶684 (“The City and CPD will ensure that the Monitor has prompt access
          to all City and CPD documents and data related to the Agreement that the Monitor reasonably
          deems necessary to carry out the duties assigned to the Monitor by this Agreement, except
          any communications, documents, or data to which access is limited or precluded by court or-
          der, or protected by the work product doctrine or the attorney-client privilege (collectively,




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     have diminishing returns. Direct discussion regarding requests and productions
     during these meetings have allowed and hopefully will continue to allow for a di-
     rect dialogue regarding the prioritization and fulfillment of each request.

     We also recommended changes to ensure that smaller meetings occur regularly
     across each section of the Consent Decree. This includes, for example, increasing
     opportunities for technical assistance and collaboration.

     Smaller meetings also permit the Parties to streamline the review processes for
     policies, training materials, and plans. Currently, those processes are structured
     based on written, often lengthy feedback processes, which often delay discussion
     and agreement. For this reason, we have recommended emphasizing the consul-
     tation process—which is required by Consent Decree paragraphs ¶¶627, 632–33,
     639, and 641—to ensure that the final draft submitted by the City is less likely to
     receive objections from the IMT or the OAG—or at least include a narrower set of
     issues that are more easily resolved.

     To this end, and as described in more detail in the next section, we have recom-
     mended moving away from one-size-fits-all timelines to assist with a more collab-
     orative approach, where review periods are based on mutual priorities and more
     explicit expectations for how materials fit into the City and the CPD’s overall policy
     and training schedules. When timelines are necessary, the Parties and the IMT can
     set schedules with mutual expectations that prioritize substance.

     If concerns about delay occur, the Parties and the IMT will be able to more readily
     raise timing issues during the more regular meetings with the Court. In fact, in late
     2023, the Parties, the IMT, and the Court began to have monthly meetings, where
     such issues can be raised and efficiently addressed.

     We believe that these new processes have been effective and could be reflected
     in the Consent Decree. Further, given the successful coordination with the City, the
     CPD, the OAG, the IMT, and the Court, the IMT recommends that other City entities
     mirror those processes. This could include the Parties resolving the longstanding
     disagreement regarding the review procedures for other City entities, such as the


         ‘privilege’”) and 685 (“685. Privilege may not be used to prevent the Monitor from observing
         training sessions, disciplinary hearings, or other CPD, COPA, or Police Board activities or pro-
         ceedings that do not involve the provision or receipt of legal advice. The City is not required to
         provide the Monitor with access to documents or data that is privileged. Should the City or
         CPD decline to provide the Monitor with access to communications, documents, or data based
         on privilege, the City or CPD will inform the Monitor and OAG that documents or data are
         being withheld on the basis of privilege which may, but need not be, in the form of a privilege
         log. If the Monitor or OAG objects to an assertion of privilege, the Monitor or OAG may chal-
         lenge the propriety of the privilege assertion before the Court.”). Although no Consent Decree
         change is necessary, the IMT also has recommendations for streamlining the process for pro-
         ductions for City entities.


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     OEMC. It is our hope that all City entities under the Consent Decree will benefit
     from the new process and that the compliance gains will be self-evident.

     Increased, Unobstructed Access to City and CPD Policies, Practices, Data,
     and Personnel
     For increased coordination to work, the City must work to streamline access to
     enhance our understanding of personnel, processes, and operations. Since the
     Consent Decree began, the IMT has enjoyed considerable access—as required by
     ¶¶681–89—but far too often, the IMT and the OAG have received undue obstruc-
     tion to City information.

     Recently, we have seen significant improvement from the City and the CPD re-
     garding access to information. And in May 2024, the City and the OAG filed an
     amended confidentiality order, which we hope further aids the OAG’s access to
     information.

     It is our hope that this progress will continue, accelerating the City and the CPD’s
     path toward demonstrating full and effective compliance. See ¶¶715–17. We
     must, however, acknowledge the challenges that exist to work toward preventing
     those challenges from repeating themselves and to continue efforts where there
     is still room for improvement.

     For example, the IMT, the OAG, and the public continue to work toward resolving
     barriers to access. While the IMT has seen marked improvement over access is-
     sues in the past year, any remaining or future issues must be quickly resolved.31
     The City and the CPD simply cannot accelerate compliance efforts—or reach full
     and effective compliance—without ongoing and increased levels of access, candor,
     and transparency.

     Expedited procedures for methodologies and achieving compliance

     We have made several recommendations to revamp the reporting processes for
     the IMT and the City. In addition to monthly public status reports with Judge
     Pallmeyer, the IMT recommends that the City’s status report include reachable pri-
     orities for the coming reporting period. The IMT will then respond to those priori-
     ties in the IMT’s monitoring reports, and the Court, the IMT, and the Parties can
     discuss the City’s efforts to meet those priorities at a select status hearing.




     31
          Moreover, we have experienced hindered access when requesting data, visiting CPD facilities
          throughout Chicago to talk with City and CPD personnel or unnecessarily redacted files. For
          example, the IMT is often escorted or accompanied by City or CPD personnel, who observe
          the IMT as we endeavor to observe the CPD.


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     Based on ongoing conversations with the Parties regarding expectations and
     demonstrated compliance efforts, the IMT also intends to provide more timely up-
     dates of methodologies and compliance levels, which will permit the Parties and
     the IMT to publicly discuss compliance levels on a timelier basis. If the City and the
     CPD reach compliance with a paragraph, for example, the IMT would be able to
     publicly update compliance levels without needing to wait for the end of each six-
     month reporting period.

     This should also help facilitate compliance efforts by removing any built-in incen-
     tives for the City and the CPD to produce as many documents as possible at the
     end of the reporting period. While six-month timelines can also encourage pro-
     gress, it can also create circumstances where more long-term efforts receive less
     attention and where document productions near the end of the reporting period
     can create artificial gridlock in workflows at the City, the CPD, the OAG, and the
     IMT.

     Likewise, if assessments occur on a rolling basis—with agreed upon timelines for
     review, dialogue, and assessment—the City and the CPD will also be able to ad-
     dress missed or lost compliance levels before the end of each reporting period and
     before each monitoring report.

     Finally, the IMT has recently launched a revamped website and will continue to roll
     out updates for ease of access to the most up to date information on compliance
     efforts.




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     Section III.
     Proposed Modifications
     to the Consent Decree
     As referenced above, to recommend changes to the Consent Decree, we consid-
     ered feedback, often conflicting, regarding potential changes to the Consent De-
     cree. In some cases, we made tough and sometimes close decisions based on in-
     ternal and external discussions. While many requests are not included, we suspect
     that additional modifications may still be in consideration for one or both of the
     Parties.

     We further expect that the City, the City’s relevant entities, the OAG, the Court,
     and Chicago’s communities will have additional considerations in response to our
     assessment and recommendations. We look forward to continuing discussions
     with the Parties and to continued community feedback and input. We do not have
     pride of authorship and will work to ensure that any modifications made to the
     Consent Decree will be in the best interest of Chicago’s communities and to an
     efficient path toward full and effective compliance.

     In negotiating the Consent Decree, the Parties “consulted with community leaders,
     community members, police officers, police officer unions, civilian CPD members,
     advocates, and other concerned individuals who offered meaningful insights and
     recommendations for change.” ¶7. As a result, the Consent Decree “reflects the
     broad input received by the Parties from the diverse communities that make up
     the City of Chicago.” Id.

     For this reason, we have given deference to the original terms and intended out-
     comes of the original Consent Decree. We have not recommended changes to ex-
     pand, shrink, or otherwise significantly alter the original intentions of the Consent
     Decree. Instead, all of our recommendations are intended to

     (1) accelerate full and effective compliance with existing requirements and

     (2) achieve and sustain the intended results with the original terms of the Consent
     Decree. See ¶¶657–59.

     Specifically, for each section of the Consent Decree, we divided our recommenda-
     tions into two types: (1) updates and (2) clarifications. Recommended updates in-
     clude substantive changes to City requirements, because the IMT believes that




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     these recommendations will accelerate full and effective compliance and help
     achieve and sustain intended results of the Consent Decree. 32

     In comparison, recommended clarifications include clarifications on existing re-
     quirements, such as updating terminology or specifying existing procedures or
     paths toward compliance. These recommendations are intended to specify exist-
     ing requirements (including incorporating requirements and processes described
     in subsequent Stipulations to the Consent Decree); remove redundances; avoid
     existing, recurring, or future disagreements on interpretation; and improve clarity,
     readability, and transparency. In our view, the recommended clarifications are al-
     ready included in the Consent Decree, and the clarifications are not required. Even
     if these recommendations are not adopted, however, we believe that going
     through the process of considering and discussing these recommended modifica-
     tions will inevitably help the Parties and the IMT have a better common under-
     standing of current requirements.

     As summarized above, within the 11 substantive sections of the Consent Decree,
     we have recommended changes to about 140 paragraphs, including substantive
     updates to about 40 paragraphs and clarifications to about 100 paragraphs. This
     includes adding about eight monitorable paragraphs and removing one mon-
     itorable paragraph, which if adopted, would modify the existing monitorable par-
     agraphs from 622 paragraphs to 629 paragraphs or about 1%. The City and the
     OAG, however, may choose to incorporate all, some, or none of the IMT’s recom-
     mendations.

     We have summarized our recommendations for each section below. The Parties
     will ultimately decide what changes, if any, are incorporated into the Consent De-
     cree. To the extent we can assist with such negotiations, we have provided poten-
     tial redlines to the Parties that correspond with our recommendations.




     32
          To determine the “intended results” of the Consent Decree, the IMT looked to the Consent
          Decree’s “guiding principles,” which were “intended to provide the Court, the Monitor, and the
          public with the context for the subsequent substantive requirements of this Agreement and
          the overall goals for each section” of the Consent Decree. See ¶757.


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          Recommended Changes:
             Global Changes and Areas of Greatest Concern
     We begin our list with global recommendations and reflect areas of greatest con-
     cern that that do not necessarily fall with any one section.

     Updates

     We have recommended updating the Consent Decree to substantively address the
     following six areas of greatest concern:

     •    Applying Consent Decree Requirements and Principles to Traffic Stops

     •    Specifying Changes to Comply with the Illinois Police and Community Rela-
          tions Improvement Act (PCRIA)

     •    Providing for Consistent and Progressive Discipline

     •    Specifying Procedures for the Coalition

     •    Incorporating the Community Commission for Public Safety and Accountabil-
          ity (CCPSA)

     •    Providing Regular Opportunities for Community Members to Observe CPD
          Training


     1.   CONSISTENTLY APPLYING CONSENT DECREE REQUIREMENTS AND PRINCIPLES TO ALL TRAFFIC STOPS
          (SEE GUIDING PRINCIPLES ¶¶8 – 10, 49–51, 83–85, 265–68, 342–46, 377, 379, 419–23, 566)

     The IMT has long been concerned about the CPD’s use of traffic stops and how
     they affect trust between the CPD and Chicago’s communities. The original Con-
     sent Decree implicates all traffic stops (see, e.g., ¶¶9, 17, 53, and 609), and the
     recent addition of investigatory stops explicitly includes such investigatory stops
     of vehicles. The Consent Decree could be revised, however, to more explicitly en-
     sure Consent Decree requirements apply appropriately to all traffic stops, includ-
     ing consistent reporting, oversight, and prohibitions on discriminatory policing.

     Traffic stops are a critical policing function and reflect a significant percentage of
     the interactions between the CPD and Chicagoans. For the Consent Decree’s out-
     comes to be achieved, such interactions must be in accordance with the law, pro-
     cedural justice, and community and officer safety. This will require improved and
     streamlined efforts in data collection, analysis, transparency, and community en-
     gagement.




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     In recent public hearings, the City, the OAG, the IMT, and the Court heard from
     various community members about whether and how traffic stops should be in-
     corporated into the Consent Decree. We heard from many community members
     who wanted traffic stops in the Consent Decree and many others who did not,
     including community members who believed that the Community Commission for
     Public Safety and Accountability should provide the necessary oversight.

     Section III, Figure 1. Public hearing flyers advertising opportunities for input
     about traffic stops on October 16, 2023, and June 11, 2024.




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     We believe that the Consent Decree should be modified to include all traffic stops
     to ensure consistency with existing related requirements and intended outcomes.
     Consistent with our recommendation below, we believe that the new CCPSA
     should also be explicitly incorporated into the Consent Decree, including a corre-
     sponding role with any new traffic-stop-related modifications to the Consent De-
     cree.


     2.   Specifying Path for Complying with PCRIA
          (SEE GUIDING PRINCIPLES ¶¶419–23)

     Paragraph 492 requires the City to comply with the State of Illinois’ Police and
     Community Relations Improvement Act (PCRIA), 50 ILCS 727/1-1 et seq. PCRIA re-
     quires that an external law enforcement agency investigate all officer-involved
     deaths, including those resulting from officer-involved shootings. Since the Con-
     sent Decree began in 2019, the City has not been compliant.

     The IMT sees at least three potential solutions for the City’s non-compliance with
     PCRIA, which include:

     1. The Illinois State Police conducts all investigations of CPD officer-involved
        deaths.

     2. The creation of a regional task force—possibly made up of officers from neigh-
        boring law enforcement agencies—to conduct all investigations of CPD officer-
        involved deaths.

     3. Seek an exemption for COPA, the CPD, and the City of Chicago from PCRIA.

     Finding a solution to this continued and complex problem is necessary to both
     bring the City into compliance with state law and to achieve Consent Decree com-
     pliance. The IMT stands ready to facilitate discussions to identify the best path
     forward and invites conversation among the Parties and other relevant stake-
     holder entities.


     3. PROVIDING FOR CONSISTENT AND PROGRESSIVE DISCIPLINE
          (SEE GUIDING PRINCIPLES ¶¶51, 250, 267, 345–46, 377, 419–23)

     “Holding public servants accountable when they violate law or policy is essential
     to ensuring legitimacy and community confidence.” ¶419. Several paragraphs of
     the Consent Decree require progressive discipline. See ¶¶238–39 and 643. The
     ability and willingness to identify repeat offenders and impose training and pro-
     gressive discipline, when warranted, is necessary for the CPD to reliably and con-
     tinuously improve.




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     Consent Decree ¶423 expands on accountability principles:

                CPD members who commit misconduct are held accountable pursuant
                to a disciplinary system that is fair, timely and consistent, and provides
                due process.33

     In June 2022, the City of Chicago Office of Inspector General released Fairness and
     Consistency in the Disciplinary Process for Chicago Police Department Members,
     which found that the “policies and procedures used by BIA, COPA, and the Police
     Board for determining discipline are insufficient to ensure consistency and fair-
     ness.”34

     The IMT remains concerned with the current accountability system in the City of
     Chicago, including consistency and constructive feedback to officers from the first
     level of accountability: front-line supervisors. To date, there has been challenges
     implementing a clear disciplinary matrix, but regardless of the specific method, we
     urge the City, the CPD, and COPA to revise the accountability and disciplinary sys-
     tems to ensure fairness, transparency, and consistency (see ¶¶423, 513).35


     4. SPECIFYING PROCEDURES FOR THE COALITION

     Consent Decree ¶669 defines the Coalition as “certain community organizations
     that have established a broad-based community coalition (“Coalition”) committed
     to monitoring, enforcing, and educating the community about this Agreement.”

     33
          See also ¶420: “A robust and well-functioning accountability system in which CPD members
          are held to the highest standards of integrity is critical to CPD’s legitimacy and is a priority of
          CPD. A culture of accountability also promotes employee safety and morale, and improves the
          effectiveness of CPD operations. Organizational justice also plays an important role in ensuring
          that CPD members have confidence in the legitimacy of the system that holds them account-
          able.
     34
          See Fairness and Consistency in the Disciplinary Process for Chicago Police Department Mem-
          bers, CITY OF CHICAGO INSPECTOR GENERAL (June 2022), https://igchicago.org/wp-content/up-
          loads/2023/08/Fairness-and-Consistency-in-the-Disciplinary-Process-for-Chicago-Police-De-
          partment-Members.pdf.
     35
          We note that any changes must be consistent with ¶711 (“Nothing in this Consent Decree is
          intended to (a) alter any of the CBAs between the City and the Unions; or (b) impair or conflict
          with the collective bargaining rights of employees in those units under the IPLRA. Nothing in
          this Consent Decree shall be interpreted as obligating the City or the Unions to violate (i) the
          terms of the CBAs, including any Successor CBAs resulting from the negotiation process (in-
          cluding Statutory Impasse Resolution Procedures) mandated by the IPLRA with respect to the
          subject of wages, hours and terms and conditions of employment unless such terms violate
          the U.S. Constitution, Illinois law or public policy, or (ii) any bargaining obligations under the
          IPLRA, and/or waive any rights or obligations thereunder. In negotiating Successor CBAs and
          during any Statutory Resolution Impasse Procedures, the City shall use its best efforts to secure
          modifications to the CBAs consistent with the terms of this Consent Decree, or to the extent
          necessary to provide for the effective implementation of the provisions of this Consent De-
          cree.”).


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     Specifically, the Coalition comprises the plaintiff organizations in the Campbell law-
     suit and the plaintiffs in the Communities United lawsuit. It also notes that the
     Parties “have entered into a Memorandum of Agreement (“MOA”)” with the Coa-
     lition. Further, ¶709 notes that “the Parties have conferred certain rights on the
     Coalition relating to the enforcement of this Agreement.”

     Throughout the Consent Decree monitoring process, the Coalition has played an
     active role by filing motions to enforce the Consent Decree and seeking to actively
     participate in, for example, policy review processes. The Coalition members and
     attorneys have spent hundreds of hours voicing concerns about policies as mem-
     bers of the Use of Force Working Group and during meetings with the Parties and
     the IMT regarding G02-02, First Amendment Rights, and S04-19, Search War-
     rants.36 See ¶¶627–37.

     Many of these discussions have led to better understanding of differing positions,
     as well as improved policy language. These processes, however, have taken signif-
     icant resources for periods that have extended beyond what any group intended.

     The IMT believes that a more structured Consent Decree process could serve all
     involved.


     5. INCORPORATING THE COMMUNITY COMMISSION FOR PUBLIC SAFETY AND ACCOUNTABILITY
        (CCPSA)

     In July 2021, the Chicago City Council passed an ordinance creating a new entity
     for police oversight in Chicago. The ordinance created two entities: a citywide
     Community Commission for Public Safety and Accountability (CCPSA) and the Dis-
     trict Councils, comprised of community members elected in each police district.
     Interim Commissioners were appointed in August 2022 and the District Council
     members were elected in February 2023.

     Since the IMT (temporarily) and the CCPSA oversee the Chicago Police Depart-
     ment, it is important to clearly delineate roles and responsibilities. The CCPSA’s
     ordinance includes some language that aims to clarify, at least in part, the roles in
     its “definitions” section:

                "Policy" means any Department general order, COPA policy, or Police
                Board policy, to the extent that any said policy is not covered by or in
                the jurisdiction of the Consent Decree or otherwise identified by the
                U.S. District Court as falling within the scope of the Independent Mon-
                itor's mandate.37



     36
          The CPD ended its relationship with the Use of Force Working Group in 2024.
     37
          Section 2-80-010 Definitions.


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     We welcome the addition of the CCPSA to Chicago’s complex police accountability
     landscape. We recognize and look forward to a future of police accountability
     that—without the IMT—is led by the City, the CPD, COPA, the Public Safety Inspec-
     tor General, the CCPSA, and Chicago’s communities who will work together to
     identify, prioritize, and address police reform issues. Until the City and the CPD
     reach full and effective compliance with the Consent Decree, however, we are
     committed to working collaboratively alongside the CCPSA and independently
     monitoring Chicago’s reform efforts and accountability systems.

     As detailed further below, we have offered a few specific recommendations to the
     Consent Decree regarding CCPSA to enshrine its new responsibilities (selection of
     the CPD Superintendent and the nomination and criteria for selecting Police Board
     members, for example) and clarify the roles of Chicago’s oversight agencies. This
     includes a process for the Parties and the IMT to enumerate Consent Decree poli-
     cies during the life of the Consent Decree.


     6. PROVIDING REGULAR OPPORTUNITIES FOR COMMUNITY MEMBERS TO OBSERVE CPD TRAINING
         (SEE GUIDING PRINCIPLES ¶¶10, 51, 268)

     Finally, the IMT recommends including a process for the CPD to provide commu-
     nity members access to observe and comment on CPD trainings. The City and the
     CPD may have concerns about maintaining appropriate confidentiality over some
     public safety information. To address such concerns, we recommend that the CPD
     control the process for access while simultaneously ensuring that the CPD consist-
     ently provides such access.

     Thus, additional language could look something like the following:

               Consistent with the purposes of this Agreement, subject to reasonable
               security precautions and protection of law-enforcement-sensitive in-
               formation, the CPD will select and post opportunities for community
               members to observe and provide feedback on a wide cross-section of
               CPD training related to all sections of this Agreement. The CPD will
               consider community feedback in its ongoing efforts to evaluate and
               improve its training.

     The CPD’s training should “reflect its commitment to procedural justice, de-esca-
     lation, impartial policing, and community policing” (¶266) and “convey CPD’s ex-
     pectations that officers perform their jobs diligently and safely, and have an un-
     derstanding of, and commitment to, the constitutional rights of the individuals
     they encounter” (¶267). As a result, there is inherent value in Chicago’s communi-
     ties receiving access to CPD training that provides CPD officers and personnel with
     the realities and expectations of effective policing in Chicago. But such access—
     and opportunities for feedback—will also build “trust between officers and the
     communities they serve” and promote “community and officer safety.” ¶2.


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     Clarifications

     In addition to the clarifications across each section of the Consent Decree, the IMT
     recommends the following global revisions to better reflect existing expectations,
     practices, and requirements:

     •   The IMT recommends that the parties consider separating some paragraphs to
         simplify and streamline requirements. Many paragraphs in the Consent Decree
         contain multiple subsections and independent requirements of multiple enti-
         ties. Revising the language of some of these paragraphs, would allow the Par-
         ties and the IMT to measure requirements independently. We note, however,
         that these changes would create the artificial appearance of increasing the
         number of Consent Decree requirements, and any changes would have to be
         paired with corresponding public explanation of the changes.

     •   The IMT recommends that the Parties conspicuously identify paragraphs that
         are not monitorable. For example, non-monitorable paragraphs could start
         with “The Parties acknowledge…” or “The Parties agree…” This will help new
         readers identify which paragraphs include requirements on the City and which
         reflect existing agreement between the Parties. This will also help avoid future
         disagreements regarding interpretation of non-monitorable versus mon-
         itorable paragraphs.



         Recommended Changes:
            Introduction

     Clarifications

     The IMT recommends clarifying the Introduction section to better reflect existing
     expectations, practices, and requirements:

     •   The IMT recommends updating the Introduction section to reflect all changes
         and stipulations since the start of the Consent Decree, such as the addition of
         the investigatory stops, protective pat downs, and enforcement of loitering or-
         dinances section.




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         Recommended Changes:
            Community Policing

     Updates

     The IMT recommends updating the Community Policing section to include the fol-
     lowing:

     •   A specific plan to publicly and timely release complete, accurate, and timely
         reports on the Community Policing Advisory Panel (CPAP) recommendations,
         as well as publicly release the report on a timely basis. See ¶13. (SEE GUIDING
         PRINCIPLES ¶¶8–10)

     •   Efficient coordination between the CPD, the District Advisory Councils, and the
         new District Councils. See, e.g., ¶25. (SEE GUIDING PRINCIPLE ¶8)

     •   Updating language to reflect the changes to the City’s use of School Resource
         Officers (ensuring that all CPD officers—regardless of unit—are sufficiently
         trained to interact with youth consistent with Consent Decree requirements,
         best practices, and CPD and community expectations). (SEE GUIDING PRINCIPLES
         ¶¶8, 10–11).

     Clarifications

     The IMT recommends clarifying the Community Policing section to better reflect
     existing expectations, practices, and requirements:

     •   For ¶15, the IMT recommends clarifying that CPD personnel will review crime-
         reduction strategies implemented under their command at least annually to
         ensure the strategies “incorporate problem-solving techniques and are con-
         sistent with the principles of community policing.”

     •   For ¶16, the IMT recommends clarifying that CPD Bureau of Patrol Area Deputy
         Chiefs and District Commanders at least annually review “district strategies for
         building community partnerships and using problem-solving techniques.”

     •   For ¶37, the CPD should detail how each of the subparts of Paragraph 37 are
         incorporated into annual in-service training.

     •   Subject to any global changes regarding School Resource Officers, the CPD has
         attempted to finish its existing evaluation within 60 days of each school year,
         which has not been shown to be enough time to meaningfully evaluate and
         revise its policies and practices. The IMT recommends clarifying that the CPD
         may begin and finish this process earlier. See ¶¶41 and 43 (The IMT also rec-
         ommends merging ¶¶41 and 43).


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     •    The IMT recommends clarifying that the definition of “diversion” to include
          both “pre-arrest diversion” (sometimes referred to as “deflection) and post-
          arrest diversion. See Section XIII (“Definitions and Abbreviations”).



          Recommended Changes:
             Impartial Policing

     Updates

     The IMT recommends updating the Impartial Policing section to include the fol-
     lowing:

     •    Procedures for distinguishing policies covered under the Consent Decree and
          currently with the Community Commission for Public Safety and Accountabil-
          ity’s (CCPSA’s). This will, among other things, avoid overburdening the CPD’s
          Research and Development Division. For example, to help the CPD develop a
          roadmap to compliance with the Impartial Policing section, the IMT recom-
          mends that the Parties and the Monitor explicitly agree to the universe of pol-
          icies that must be reviewed and, as necessary, revised to ensure non-biased
          policing in all spontaneous and routine law enforcement decisions. See ¶¶55–
          56. (SEE GUIDING PRINCIPLES ¶¶49–50)

     •    Reflect that the CPD has its own permanent Language Access Coordinator po-
          sition (Special Order S02-03). See ¶65. (SEE GUIDING PRINCIPLES ¶¶49–50)

     Clarifications

     The IMT recommends clarifying the Impartial Policing section to better reflect ex-
     isting expectations, practices, and requirements:

     •    The IMT recommends adding the language regarding search warrants from the
          March 25, 2022 Stipulation Regarding Search Warrants, Consent Decree Time-
          lines, and the Procedure for “Full and Effective Compliance” (“Search Warrant
          Stipulation).38

     •    The IMT recommends updating ¶53 consistent with changes to City Ordinance
          6-10-100 and amendments that have taken place since the start of the Consent
          Decree.


     38
          This stipulation is available on the IMT website: https://cpdmonitoringteam.com/wp-con-
          tent/uploads/2024/03/2022.03.25-Stipulation-Regarding-Search-Warrants-Consent-Decree-
          Timeline.pdf.


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     •    The IMT recommends clarifying that ¶81 no longer applies because the re-
          quirements were added to the Consent Decree in the June 2023 Amended Stip-
          ulation regarding Investigatory Stops, Protective Pat Downs, and Enforcement
          of Loitering Ordinances (“Investigatory Stop Stipulation”).39



          Recommended Changes:
             Crisis Intervention

     Updates

     The IMT recommends updating the Crisis Intervention section to include the fol-
     lowing:

     •    Adding a clear path for the City and the OEMC to define “timely response” for
          the purpose of responding to calls for service identified as involving individuals
          in crisis. See ¶107. (SEE GUIDING PRINCIPLES ¶¶85–86)

     •    Publicly release Crisis Intervention data regarding the number and types of in-
          cidents involving individuals in crisis and responses of CPD officers. See ¶120.
          (SEE GUIDING PRINCIPLES ¶¶83, 85)

     •    The IMT recommends that the Parties—in consultation with the Chicago Coun-
          cil on Mental Health Equity (CCMHE) members—potentially revise correspond-
          ing requirements to ensure that the CCMHE is able to consistently and effi-
          ciently serve the purposes intended by the Consent Decree. The IMT recom-
          mends, for example, updating ¶128 to ensure consistent transparency and ac-
          cess to CCMHE meetings. (SEE GUIDING PRINCIPLES ¶¶85–86)

     •    The IMT recommends updating the Consent Decree to clarify the role of the
          City’s Crisis Assistance Response and Engagement (CARE) team or similar re-
          sponses or programs. See, e.g., ¶131, 139. (SEE GUIDING PRINCIPLES ¶¶85–86)

     •    Changing the definition of “tele-communicators” to include all tele-communi-
          cators. This will help ensure that all tele-communicators are sufficiently trained
          to address calls involving individuals in crisis. See ¶789. (SEE GUIDING PRINCIPLES
          ¶¶85)




     39
          The Investigatory Stop Stipulation is available on the IMT website: https://cpdmonitoring-
          team.com/wp-content/uploads/2024/03/2023.06.27-Amended-Stipulation-regarding-Inves-
          tigation-Stops-Protective-Pat-Downs-and-Enforcement-of-Loitering-Ordinances.pdf.


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     Clarifications

     The IMT recommends clarifying the Crisis Intervention section to better reflect ex-
     isting expectations, practices, and requirements:

     •   As workflows are currently allocated, various City entities have responsibilities
         in the Crisis Intervention section, including the CPD, the OEMC, the Chicago
         Fire Department, and the Department of Public Health. The Consent Decree
         broadly defines the City as “the City of Chicago, an Illinois municipal corpora-
         tion, and any agent, agency, officer, employee, assignee, or successor thereof.”
         ¶736. To avoid confusion and further delay—and to help streamline coordina-
         tion—the IMT recommends that the Parties seek to clarify entity responsibili-
         ties, where possible. See, e.g., ¶¶87, 130–32, 139.

     •   The IMT recommends clarifying the training cadence the CPD will utilize to en-
         sure CIT officers remain current with best practices and CPD expectations. See,
         e.g., ¶101.

     •   The IMT recommends clarifying training requirements for CIT Coordinators.
         See ¶116.

     •   Consistent with the above recommendation regarding workflows and respon-
         sibilities, the IMT recommends clarifying the review procedure for the OEMC’s
         portion of the Crisis Intervention Plan. See ¶125.

     •   As referenced for the Community Policing section, the IMT recommends clari-
         fying that the definition of “diversion” to include both “pre-arrest diversion”
         and “post-arrest diversion.” See Section XIII (“Definitions and Abbreviations”).



         Recommended Changes:
            Use of Force

     Updates

     The IMT recommends updating the Use of Force section to include the following:

     •   Adding a paragraph, consistent with ongoing discussions, that creates realistic
         expectations and transparency for CPD reporting and supervision require-
         ments in responses to crowds, including instances involving coordinated mul-
         tiple arrests, and extraordinary circumstances. (SEE OBJECTIVES ¶¶153, 155–56)

     •   For firearm pointing incidents, (1) requiring supervisors to review the pointing
         officer’s body-worn-camera footage and address any deficiencies before the


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          end of the tour of duty and (2) requiring unit commanders to, on a monthly
          basis, review firearm pointing data to address any patterns and trends. The
          IMT strongly believes that supervisors must be more involved in the review of
          firearm-pointing incidents, and the CPD must ensure that frontline supervisors
          play an immediate role in reviewing body-worn-camera footage of firearm
          pointing incidents. See ¶191. While the IMT agrees that supervisors have com-
          peting responsibilities, there are few priorities more important than investigat-
          ing force and pointing incidents. In addition, requiring supervisors to review
          firearm pointing data—perhaps by adding such data to the Supervisory TRR
          Dashboard, as we recommended in Independent Monitoring Report 8—ad-
          dresses patterns and trends.40 (SEE OBJECTIVES ¶¶153, 155–56)

     •    Revising the definitions for levels of reportable uses of force to ensure accurate
          reporting, reviews, transparency, and appropriate accountability. See ¶218.41
          For example, as written, applying all Level 1s to handcuffed prisoners can be
          interpreted in a way that is overly broad and actually result in underreporting.



     40
          Frontline supervisors must play a greater role before reducing the Tactical Review and Evalua-
          tion Division’s (TRED’s) involvement. TRED should continue to analyze and report on data col-
          lected from all firearm pointing incidents, but reducing the number of incidents that TRED
          reviews would alleviate the backlog issues that TRED operates under and still provide effective
          analysis of CPD operations. It is the IMT’s understanding that the separate Firearm Pointing
          Dashboard is not accessible to districts/units at the present time. It has valuable information
          that should be utilized. The CPD’s firearm pointing incidents policy has been in place for four
          years. The districts with the most pointings are the 7th District with 1,125 pointing incidents,
          the 6th District with 1,032 pointing incidents, and the 11th with 953 pointing incidents. A June
          2020 Philadelphia Police Advisory Commission report that surveyed 13 major departments on
          reporting practices for firearm-pointing incidents identified 10 agencies that conducted re-
          views, and nine that conducted chain of command reviews (e.g., incidents are reviewed by
          chain of command; some agencies only require immediate supervisor, whereas others man-
          date chain of command up to Captain). The CPD is the only agency with an investigative team
          reviewing (TRED). The IMT believes that a supervisor’s review is more impactful to officers
          than a review that is more exhaustive but is provided 30 days after the fact and does not con-
          tain the complete context.
          The CPD has committed to creating a pilot program that would implement such supervisor
          reviews of firearm pointing by the end of 2024. We appreciate this effort and believe that this
          practice will decrease the CPD’s review backlog and will greatly improve firearm pointing re-
          views and supervision.
     41
          The IMT recognizes that staffing is an issue in the CPD but the unavailability of supervisors to
          respond to Level 2 use of force scenes is a concern that impacts a number of requirements (for
          instance, identifying witnesses). In 2022, there was no immediate supervisory response to
          27.6% of level 2 incidents, and in the first half of 2023, 36.78% of incidents did not have an
          immediate response. The CPD reports on these force incidents before the end of the tour of
          duty but are unable to quantify how quickly the supervisors respond. The IMT is concerned
          about whether districts with crime and force workload issues are provided with additional su-
          pervisory personnel. In addition, the IMT is concerned whether the CPD has identified super-
          visors’ priorities and determined which issues require their immediate response.


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         The IMT recommends the Parties negotiate clear language that better ensures
         proper reporting and review. (SEE OBJECTIVE ¶156)

     •   Revising the timeline for Force Review Board meetings to ensure that the CPD
         has sufficient information and attendance for holistic reviews, discussions, and
         when appropriate, recommendations “regarding any need for additional train-
         ing or modifications to policies, tactics, equipment, or Department practice.”
         ¶580. (SEE OBJECTIVES ¶¶155–57)

     Clarifications

     The IMT recommends clarifying the Use of Force section to better reflect existing
     expectations, practices, and requirements:

     •   The IMT recommends updating ¶172 to reflect the CPD’s adoption and imple-
         mentation of a foot-pursuit policy.

     •   The IMT recommends updating ¶¶173 and 175 consistent with Illinois law.

     •   The IMT recommends updating ¶176 to reflect that CPD policy requires offic-
         ers to report another officer’s use of excessive force to a supervisor before the
         end of a tour of duty.

     •   The IMT recommends that the Parties revise ¶202 consistent with Illinois law.
         As it is required by Illinois law, the IMT believes that securing body-worn cam-
         eras should be a priority. The process of not viewing body-worn-camera foot-
         age before submitting a report must also be addressed.

     •   The IMT recommends updating terminology in the Use of Force section to re-
         flect the CPD’s use of that terminology. Specifically, the IMT recommends re-
         vising “responding supervisor” to “reviewing supervisor” and revising “review-
         ing supervisor” with “investigating supervisor” to match the terminology used
         in CPD policy. See e.g., ¶¶ 222–26, 230–35. The IMT also recommends revising
         “supervisory review” to “supervisory investigation” to match the CPD duties.
         See ¶238.

     •   The IMT recommends further clarifying ¶234: TRED has done a good job of
         providing data on Tactical Response Reports (TRRs), but the IMT has not seen
         action plans from districts and units. The Supervisory TRR Dashboard provides
         an opportunity to address this, but data must be utilized at the district level.

     •   The IMT recommends moving use-of-force related paragraphs from the Data
         Collection, Analysis, and Management section to the Use of Force section for
         consistency and clarity. See ¶¶577–82.



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          Recommended Changes:
             Recruitment, Hiring, and Promotion

     Clarifications

     The IMT recommends clarifying the Recruitment, Hiring, and Promotion section to
     better reflect existing expectations, practices, and requirements:

     •    The IMT recommends that the Parties consider (1) revising the recurring dead-
          lines within the Recruitment, Hiring, and Promotion section and (2) how the
          City and the CPD can create more specificity regarding disciplinary history for
          Sergeant and Lieutenant promotions. See ¶261.42



          Recommended Changes:
             Training

     Updates

     The IMT recommends updating the Training section to include the following:

     •    Updating workflow responsibilities for the Training Division and the Training
          Oversight Committee (“TOC”). See ¶275–76. (SEE GUIDING PRINCIPLE ¶266)




     42
          We note that any changes must be consistent with ¶711 (“Nothing in this Consent Decree is
          intended to (a) alter any of the CBAs between the City and the Unions; or (b) impair or conflict
          with the collective bargaining rights of employees in those units under the IPLRA. Nothing in
          this Consent Decree shall be interpreted as obligating the City or the Unions to violate (i) the
          terms of the CBAs, including any Successor CBAs resulting from the negotiation process (in-
          cluding Statutory Impasse Resolution Procedures) mandated by the IPLRA with respect to the
          subject of wages, hours and terms and conditions of employment unless such terms violate
          the U.S. Constitution, Illinois law or public policy, or (ii) any bargaining obligations under the
          IPLRA, and/or waive any rights or obligations thereunder. In negotiating Successor CBAs and
          during any Statutory Resolution Impasse Procedures, the City shall use its best efforts to secure
          modifications to the CBAs consistent with the terms of this Consent Decree, or to the extent
          necessary to provide for the effective implementation of the provisions of this Consent De-
          cree.”).


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     Clarifications

     The IMT recommends clarifying the Training section to better reflect existing ex-
     pectations, practices, and requirements:

     •   The IMT recommends revising “Education and Training Division” to “Training
         Division” to reflect the CPD’s current terminology. See, e.g., ¶¶271–72, 274–
         77, 280, 284, 287, 290–92, 304, 314–15, 322, and 325–26.

     •   The IMT recommends separating the requirements in ¶279 into two para-
         graphs so that the requirements can be tracked separately (disseminating
         training materials and displaying training materials at CPD facilities).

     •   For ¶284, the IMT recommends clarifying language to reflect that the Illinois
         Law Enforcement Training and Standards Board (ILETSB) provides instructor
         approval letters for ILETSB certified courses.

     •   Consistent with other Consent Decree requirements, ¶296 should reflect that
         the CPD should ensure that the Academy is sufficiently staffed for all requisite
         training.



         Recommended Changes:
            Supervision

     Clarifications

     The IMT recommends clarifying the Supervision section to better reflect existing
     expectations, practices, and requirements:

     •   The IMT recommends that the Parties consider adding language to incorporate
         the CPD’s supervision pilots, including a focus on the tracking of substantive
         supervision responsibilities. See ¶365. The requirements of the Supervision
         section are foundational to achieving and sustaining meaningful reform. The
         importance of effective, fair, and consistent supervision to the Consent Decree
         cannot be overstated. After the start of the Consent Decree, the City and the
         CPD identified the need to pilot supervision reforms, including the mechanism
         for ensuring a 10 to 1 supervision ratio. We believe that it could be helpful to
         modify the Supervision section to include the need for this pilot, as well as
         identifying incremental goals toward citywide implementation, such as track-
         ing progress within particular districts. We believe, however, that any revisions
         should reflect that the pilot and the CPD’s corresponding efforts cannot just
         aim for a ratio and must, instead, focus on measuring the substantive metrics
         for effective supervision.


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     •   The requirements of the Supervision section are foundational to achieving and
         sustaining meaningful reform. The importance of effective, fair, and consistent
         supervision to the Consent Decree cannot be overstated. After the start of the
         Consent Decree, the City and the CPD identified the need to pilot supervision
         reforms, including the mechanism for ensuring a 10 to 1 supervision ratio. We
         believe that it could be helpful to modify the Supervision section to include the
         need for this pilot, as well as identifying incremental goals toward citywide im-
         plementation. We believe, however, that the pilot and the CPD’s corresponding
         efforts cannot just aim for a ratio and must, instead, focus on measuring the
         substantive metrics for effective supervision.

     •   The IMT recommends revising ¶348 to reflect ongoing reviews of supervision
         policies and “to ensure that such policies set out clear responsibilities for su-
         pervisors to comply with the requirements” of the Consent Decree.



         Recommended Changes:
            Officer Wellness and Support

     Clarifications

     The IMT recommends clarifying the Officer Wellness and Support section to better
     reflect existing expectations, practices, and requirements:

     •   The IMT recommends revising the title of the section to reflect that require-
         ments also address wellness and support for non-sworn personnel and others
         directly and indirectly impacted by police duties. The IMT also recommends
         revising several paragraphs in this section to provide inclusive language for
         non-sworn, active, and retired CPD personnel and their families. See, e.g.,
         ¶¶377–79, 385, and 403.

     •   The IMT recommends updating ¶382 to reflect the appropriate cadence of the
         needs assessment to determine what resources are necessary to ensure the
         support services available to CPD personnel comport with best practices and
         mental-health-professional standards.

     •   The IMT recommends revising ¶384 to clarify the process for modifying the
         Officer Wellness Support Plan, along with clarifying a more regular cadence.

     •   The IMT recommends revising ¶386 to clarify when handouts with contact in-
         formation for support services will be provided to CPD personnel.




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     •   The IMT recommends revising ¶388 to reflect CPD timelines for the needs as-
         sessment, officer systems support plan, annual report to the superintendent,
         and the suicide prevention initiative.

     •   The IMT recommends making ¶390 a non-monitorable paragraph and merging
         the monitorable language into ¶391. The IMT also recommends revising this
         paragraph in accordance with the revised paragraphs above.

     •   The IMT recommends adding guidance within ¶394 to ensure CPD personnel
         have access to specialized counseling.

     •   The IMT recommends updating ¶397 to reflect City responsibilities.

     •   The IMT recommends making ¶398 a non-monitorable paragraph and merging
         the monitorable language into ¶399.

     •   The IMT recommends revising ¶409 to provide greater clarity regarding the
         CPD’s existing practices.

     •   The IMT recommends moving paragraphs in this section related to CPD equip-
         ment and technology to the Data Collection, Analysis, and Management sec-
         tion and reflecting that change in the title of the section. See ¶415–17.



         Recommended Changes:
            Accountability and Transparency

     Updates

     The IMT recommends updating the Accountability and Transparency section to in-
     clude the following:

     •   Shortening the timeframe for initiating and making reasonable attempts to se-
         cure a signed complainant affidavit (including in-person visits, phone calls, and
         other methods) from 30 days to 15 days. See ¶463. (SEE GUIDING PRINCIPLE ¶423)

     •   Ensuring that Accountability Sergeants are situated to meet their responsibili-
         ties of receiving, processing, and investigating complaints against CPD mem-
         bers by revising ¶494 to ensure Accountability Sergeants’ only responsibility is
         “receiving, processing, and investigating complaints against CPD members.”
         (SEE GUIDING PRINCIPLE ¶423)




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     •   Removing “undertake best efforts” in ¶¶508 and 514 to ensure investigatory
         and disciplinary records are retained electronically and that discipline recom-
         mended for sustained findings are applied consistently and without regard for
         the race of the complainant or the race of the involved CPD member. (SEE GUID-
         ING PRINCIPLE ¶423)

     •   Require BIA to send the staffing and equipment-needs plans to the Superin-
         tendent and District Commander to ensure awareness of BIA needs. See ¶524.
         (SEE GUIDING PRINCIPLE ¶423)

     •   Require BIA, COPA, and the Police Board to periodically utilize external auditors
         and accreditors to independently demonstrate consistency and fairness. (SEE
         GUIDING PRINCIPLE ¶423)

     Clarifications

     The IMT recommends clarifying the Accountability and Transparency section to
     better reflect existing expectations, practices, and requirements:

     •   The IMT recommends revising ¶429 to resolve confusion regarding officers’
         reporting responsibilities and the anonymous reporting website.

     •   COPA must communicate with complainants both electronically and via mail,
         if necessary. The IMT recommends revising ¶430 to ensure that if a complain-
         ant does not provide an email address and instead provides a mailing address,
         COPA will communicate through that communication method.

     •   The IMT recommends updating terminology to reflects the change in names
         for City Council Committees. See ¶473.

     •   The IMT recommends moving ¶635 from the Implementation section into the
         Accountability and Transparency section: “CPD will provide a mechanism to
         electronically access approved and published department-wide directives in a
         usable, organized, and searchable format.”

     •   The IMT recommends moving ¶643 from the Implementation section into the
         Accountability and Transparency section: “CPD members who violate policies,
         procedures, orders, or directives that are required by this Agreement or that
         implement its provisions will be held accountable by CPD and the City, includ-
         ing through CPD’s progressive discipline process.”

     •   The IMT recommends revising this section to reflect current City entity respon-
         sibilities, including the addition of the CCPSA. See, e.g., ¶¶525, 532–33, 565.




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     •   Paragraph 545 required that the City, with limited and enumerated exceptions,
         make “each CPD policy and directive” publicly available” by mid-2019. To mon-
         itor compliance with this paragraph, it is crucial that that the IMT and the OAG
         receive a list of policies that the CPD believes to be exempt from public posting,
         to ensure opportunities to address disagreement. To ensure that this process
         begins as soon as possible, the IMT recommends that the Parties add a specific
         process to ensure that policies and directives are made public, as appropriate.



         Recommended Changes:
            Data Collection, Analysis, and Management

     Updates

     The IMT recommends updating the Data Collection, Analysis, and Management
     section to include the following:

     •   Updating ¶570 to reflect current best practices related to data sharing be-
         tween the CPD and COPA. (SEE GUIDING PRINCIPLES ¶¶566–67)

     •   Adding a regular audit of the CPD’s electronic system to ensure that it is valid
         and reliable. (SEE GUIDING PRINCIPLES ¶¶566–67)

     •   Revising ¶588 to include specific criteria for the automated electronic system
         for the early intervention system: “The criteria shall be based on (1) a single
         indicator, such as the number of misconduct complaints against an officer, (2)
         a combination of multiple indicators across similarly situated officers, and (3)
         an algorithmic scoring model that statistically and reliably identifies patterns
         indicating at-risk behavior. CPD will adjust the criteria as necessary based on
         data and experience to ensure interventions and support are optimally tar-
         geted.” (Recommended language in italics). (SEE GUIDING PRINCIPLES ¶¶566–67)

     •   Requiring regular meetings with relevant personnel across City entities will fa-
         cilitate the necessary coordination to identify and implement paths toward
         compliance. The IMT has often received conflicting information from City en-
         tities regarding data collection, verification, and assessment responsibilities.
         Because these responsibilities are ultimately City requirements, the IMT be-
         lieves that more regular meetings with relevant personnel across City entities
         will facilitate the necessary coordination to identify and implement paths to-
         ward compliance. With this paragraph, the IMT does not intend to create an
         arbitrary meeting requirement. Instead, the purpose of these meetings is to
         ensure that there is an understanding across the City entities, the Parties, the
         IMT, the Court, and public regarding the City’s path toward providing police



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         services that are data-driven and self-regulating. (SEE GUIDING PRINCIPLES ¶¶566–
         67)

     Clarifications

     The IMT recommends clarifying the Data Collection, Analysis, and Management
     section to better reflect existing expectations, practices, and requirements:

     •   The IMT recommends updating “Force Review Unit” to “Tactical Review and
         Evaluation Division” (TRED) to match the current name. See, e.g., ¶¶575.

     •   The IMT recommends revising ¶576 regarding random audits of body-worn
         and in-car camera recordings of incidents to including language to create re-
         view procedures related to the Crisis Intervention Section.

     •   The IMT recommends that ¶586 more explicitly identify circumstances for
         early identification: “A primary goal of the automated electronic system will be
         to facilitate early identification of (1) officers at elevated risk of being involved
         in certain types of events, (2) officers who meaningfully and statistically differ
         from other officers on performance-related metrics (e.g., use of force or com-
         plaints), or (3) officers that demonstrate behavior indicating a need for super-
         visory intervention, so that the officers can receive tailored interventions in-
         tended to reduce such risk. . . .”

     •   The IMT recommends clarifying that the CPD’s required “regular” review of
         citywide and district-level data regarding reportable uses of force occur, at
         least, annually. Likewise, the IMT recommends clarifying that the results of the
         review will be made public. See ¶¶572–73.

     •   The IMT recommends specifying a cadence for soliciting input and feedback
         from collective bargaining units during the development and implementation
         of the early intervention system. See ¶601.

     •   The IMT recommends moving use-of-force related paragraphs from the Data
         Collection, Analysis, and Management section to the Use of Force section for
         consistency and clarity. See ¶¶577–82.

     •   The IMT recommends moving paragraphs related to equipment and technol-
         ogy from the Officer Wellness and Support section the Data Collection, Analy-
         sis, and Management section and reflecting that change in the title of the sec-
         tion. See ¶415–17.




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         Recommended Changes:
            Investigatory Stops, Protective Pat Downs, and
            Enforcement of Loitering Ordinances

     Clarifications

     The IMT recommends clarifying the Investigatory Stops, Protective Pat Downs, and
     Enforcement of Loitering Ordinances section to better reflect existing expecta-
     tions, practices, and requirements:

     •   The IMT agrees with the community feedback that recommended removing
         the word “solely” from ¶806, which otherwise risks a significant misunder-
         standing of what is required for the City and the CPD.

     •   Consistent with other stipulations, the IMT recommends moving this section
         into the Consent Decree between the Data Collection, Analysis, and Manage-
         ment section and the Implementation, Enforcement, and Monitoring section.
         This will ensure that these requirements are easily accessible and referenced
         along with other requirements. (This will also require moving applicable defi-
         nition paragraphs to the definition section for clarity and ease of access. See
         ¶¶876–77.)



         Recommended Changes:
            Implementation, Enforcement, and Monitoring; and
            Definitions and Abbreviations Sections
     Based on lessons learned since the start of the Consent Decree, the IMT has made
     several recommended changes to Consent Decree processes to facilitate coordi-
     nation, efficiency, and full and effective compliance. As a result, unlike other rec-
     ommendations, most of the recommendations in this section will only work if
     there is universal buy-in with the IMT, the City, and the OAG. Many of these
     changes could occur now with agreement between the Parties and without a
     change of Consent Decree language.

     Clarifications

     •   The IMT recommends clarifying the procedures for ensuring reasonable fees
         and costs. See ¶¶617–18. Monitor has provided the Court with budget infor-
         mation during various meetings. To ensure clarity, the IMT will provide the
         Court and the City with written budgets. Moreover, early on, the IMT struggled
         to operate during this monitoring project due to considerable lags in payment.
         Recently, the City Department of Law has set up an electronic system to ensure


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         a consistent payment schedule. The IMT recommends clarifying a payment
         schedule and memorializing it in the Consent Decree the IMT’s current process
         of posting paid invoices on its website. See ¶¶617–19, 621.

     •   The IMT recommends revising ¶620 to reflect that the Monitor may not need
         resources such as office space and reasonable office support.

     •   The IMT recommends revising ¶622 to reflect that the Parties may raise feed-
         back with the Monitor, each other, and the Court at any time.

     •   The IMT recommends streamlining the Consent Decree’s policy review pro-
         cess:

         o Identifying all policies, procedures, and written guidance subject to the
           Consent Decree and identifying policies, procedures, and written guidance
           subject to CCPSA oversight.

         o Emphasizing and clarifying the preliminary development and review pro-
           cess for policies, procedures, and written guidance to emphasis consulta-
           tion with the community, the OAG, and the IMT.

         o Creating a review process that is less bureaucratic and permits the Parties
           and the IMT to provide feedback in both written and oral responses. More
           consistent opportunities for collaboration will help to ensure that the
           stages of the review process—and which entity is next to provide a re-
           sponse—are clear. This could include, for example, developing processes
           to clearly distinguish between consultation drafts, “final” drafts, and previ-
           ously approved drafts, which will follow different procedures and timelines
           to optimize development, review, and implementation timelines.

         o Providing clear guidance on how the City and the CPD may expedite review
           procedures by requesting reasonable review timelines that the City and the
           CPD will also follow. The IMT’s recommendations are intended to make re-
           view procedures more efficient, and the Parties and the IMT should con-
           tinue to have the option to raise timing concerns to the Court at any time.
           In fact, as the Parties have scheduled monthly settlement conferences with
           the Court, any timing concerns may be easily raised on a regular basis.

         o Clarifying the public comment period to maximize opportunities for feed-
           back and engagement. This should include, for example, (1) a specific feed-
           back loop to the Consent Decree review process, (2) clarifying a process for
           identifying policies and procedures that are exempt from the public review
           process (see ¶¶634–36), (2) specifying the CPD’s mechanism for recurring




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              and ongoing community review and input, and (4) accounting for City hol-
              idays when posting policies for public comment by extending the review
              period accordingly.

          o Updating the language regarding internal policy review procedures to re-
            flect the use of existing mechanisms for ongoing feedback and improve-
            ment. For the CPD, for example, utilizes IMT surveys, TRED data, public
            feedback, audits, Force Review Board assessments, training evaluation.

          o Clarifying that the exceptions to the review process are intended to be tem-
            porary. As a result, “temporary policies” should be fast tracked into stand-
            ard review process to implement a policy through the formal process. See
            ¶631 (extraordinary circumstances exception).

     •    The IMT also recommends editing the policy review and training procedures
          under the Consent Decree for all relevant City entities, including COPA and the
          OEMC. As a result, edits to this section will also replace the January 2020 Stip-
          ulation Regarding the Policy and Training Review Process for the Civilian Office
          of Police Accountability (COPA).43 These changes would not impact Consent
          Decree progress to date.

     •    Consistent with the above changes to the policy review process, the IMT rec-
          ommends making similar changes to the training review process.

          o Reflecting existing Consent Decree requirements regarding community
            consultation in one place. This should include community feedback for the
            Impartial Policing section (¶52) and from the Training Advisory committee
            and decentralized community engagement efforts. It should also include
            reference to COPA’s working group of community stakeholders.

     •    Consistent with the above changes to the policy and training review processes,
          the IMT recommends making similar changes to the review process for imple-
          mentation plans. This should include updating language to reflect when non-
          CPD entities are responsible for Implementation Plan. See ¶638–40.

     •    The IMT recommends clarifying that the IMT may determine that certain mon-
          itorable paragraphs do not require policy, training, and implementation met-
          rics. For example, the IMT has recommended merging several paragraphs that
          separate these requirements, but if those revisions are not addressed, this par-
          agraph will permit the IMT to close such paragraphs. This will increase clarity



     43
          This stipulation is available on the IMT website: https://cpdmonitoringteam.com/wp-con-
          tent/uploads/2024/03/2020.01.30-Stipulation-Regarding-the-Policy-and-Training-Review-
          Process.pdf.


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         and transparency by allowing the City, the OAG, and the public to focus on
         remaining substantive reform efforts. See ¶642.

     •   The IMT recommends merging the required annual Monitoring Plan into the
         semiannual monitoring reports. See ¶652.

     •   The IMT recommends changes to the Consent Decree methodology and com-
         pliance review process to improve clarity, efficiency, timeliness, and transpar-
         ency. The IMT submitted proposed methodologies for the review or audit of
         every original monitorable paragraph of this Agreement to the Parties for sev-
         eral consecutive monitoring periods. We will remain open to discuss the meth-
         odologies and may make reasonable modifications to the methodologies so
         that the City and its entities may continue to move toward full and effective
         compliance with the Consent Decree as efficiently as possible. Moving for-
         ward, we recommend something like the following process:

         o If we determine that changes to the methodologies are required and that
           those changes require the City to produce more evidence of compliance
           than previously identified for a particular compliance level, we will provide
           at least one reporting period notice before removing any level of compli-
           ance. See ¶655.

         o We recommend that when the City provides evidence of compliance, the
           City will identify how the production demonstrates compliance with the
           requirement consistent with our existing methodologies. The City may pro-
           pose a modification to our methodologies, explaining the reason for the
           methodology change and how the modification still demonstrates that the
           City has incorporated the City requirement into Consent Decree policy,
           training materials, and practice.

         o If we determine that the City has demonstrated a level of compliance with
           a requirement, we will provide written notice to the City and the OAG of
           what level of compliance the City has demonstrated and for which Consent
           Decree paragraphs and requirements. The City and the OAG may raise any
           concerns regarding our assessment and determination within 30 days, and
           the City, the OAG, and the IMT will meet to discuss those concerns. If we
           agrees to retract the determination, we will provide written notice to the
           City and the OAG. Otherwise, we may immediately publicly release our
           compliance assessment and determination, including on our website, dur-
           ing meetings with the community, in public reports, and during public hear-
           ings in federal court.

         o The City, the OAG, and the IMT will maintain communications to avoid any
           ambiguity, to identify next steps, and to efficiently identify plans toward
           compliance.


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         o Likewise, if we determine that the City has lost a level of compliance with
           a requirement, the IMT will provide written notice to the City and the OAG
           of what level of compliance the City has lost, for which Consent Decree
           paragraphs, and the reason compliance levels were lost. The City or the
           OAG may raise any concerns regarding the IMT’s determination within 30
           days, and the City, the OAG, and the IMT will meet to discuss those con-
           cerns. If the IMT agrees to retract the determination, the IMT will provide
           written notice to the City and the OAG. Otherwise, the IMT will provide the
           City with at least 60 days from the original notice to demonstrate compli-
           ance. If the City does not do so, the IMT may publicly release the IMT’s
           compliance assessment and determination, including on its website, dur-
           ing meetings with the community, in public reports, and during public hear-
           ings in federal court.

     •   With a reemphasis on coordination, the IMT anticipates that there may be in-
         creased requests for technical assistance. To set clear expectations, the IMT
         recommends providing more detail and clarity regarding how that process
         should work. See ¶656.

     •   The IMT recommends clarifying that the Consent Decree could terminate be-
         fore the next Comprehensive Assessment. See ¶660.

     •   The IMT recommends updating the Consent Decree consistent with previous
         discussions to streamline the IMT reports, including an anticipated cadence for
         IMT reports. See ¶¶661–63.

     •   Now that the Office of Inspector General (OIG) and Deputy Public Safety In-
         spector General (PSIG) have reached full and effective compliance, the IMT
         recommends adding ongoing coordination meetings and adding a process to
         provide the OIG or PSIG with alternative review, assessment, or auditing func-
         tions. See ¶667.

     •   The IMT recommends clarifying access requirements to ensure that the City
         and relevant City entity personnel maintain consistent channels for communi-
         cation and coordination. This could include language similar to the following:
         “To facilitate effective and timely communication, and consistent with the ac-
         cess requirements in the Consent Decree, the Monitor may schedule specific
         meetings with specific individuals, including with those with the authority to
         make decisions, and limit the number of people in attendance to ensure open
         and productive discussion. In general, the City, the CPD, and other City entities
         will make a select group of decision-makers available to the monitoring team
         as needed—in addition to larger group meetings—for open and cooperative
         discussion.”




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     •   The IMT recommends explicitly adding the public hearing schedule to the Con-
         sent Decree. This could include language similar to the following: “The Court,
         the Monitor, and the Parties will endeavor to have monthly status hearings to
         provide the Court and the public with updates on ongoing compliance plans
         and efforts. The Court, the Monitor, and the Parties will also endeavor to per-
         mit public comment at these hearings on at least one hearing per quarter. The
         Monitor will provide information on how to sign up for such public comments
         on the Monitor’s website. The Court, the Monitor, and the Parties will work to
         provide a schedule and corresponding topics for these public status hearings
         well in advance of each hearing. At least twice a year, the Parties and the Mon-
         itor will present on the City’s ability to meet the City’s priorities (from the pre-
         vious status report) and the Monitor’s priorities (from the previous monitoring
         report). The Court and the Monitor may also add or change topics for the sta-
         tus hearings at any time, including the addition of standing agenda items.”

     •   The IMT recommends clarifying that collective bargaining representatives may
         choose not to meet with the IMT. See ¶671. The IMT, however, will continue to
         meet regularly with CPD officers and continue to make ourselves available to
         collective bargaining representatives.

     •   The IMT recommends revising the City’s Status Report to reflect priorities for
         the next reporting period. See ¶680. Specifically, the IMT recommends that the
         status report include

         (1) the reform efforts taken by City entities during the reporting period;

         (2) City entities’ assessment of the status of their progress implementing this
         Agreement;

         (3) the City’s priorities for the upcoming reporting period, including compli-
         ance efforts that the City intends to achieve and a plan to achieve those prior-
         ities; and

         (4) whether the City achieved the City’s priorities (from the previous status re-
         port) and the IMT’s priorities (from the previous monitoring report) for the
         current reporting period, including the reasons priorities were not met and the
         plans to achieve them.

         At least one of the monthly status hearings in the following reporting period
         with the Court should address the City’s status report.

     •   The IMT recommends clarifying that ¶686 relates to OAG access (IMT access is
         addressed separately).




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     •    The IMT recommends streamlining the process for receiving requested data
          and information under the Consent Decree. The IMT believes that this process
          would also benefit by being made a consistent agenda item during monthly
          section meetings. See ¶687.

     •    The IMT recommends providing additional details regarding the enforcement
          proceeding process. See ¶695. For example: “the cure period shall be 30 days
          if the OAG determines that the City and CPD have failed to comply with the
          City or Monitor’s priorities (as set out in the City’s status report and the Mon-
          itor’s monitoring report).”

     •    The IMT recommends removing ¶712 as it was incorporated into the Investi-
          gative Stop Stipulation.

     •    The IMT recommends updating language per the stipulation that extended the
          intended end date of the Consent Decree and the stipulation that added inves-
          tigatory stops, protective pat downs, and enforcement of loitering ordinances
          to the Consent Decree.44 See ¶¶714–15.

     •    The IMT recommends clarifying that aspects of ¶721 apply to the City and
          other relevant City entities besides the CPD: “721. Prior to termination of this
          Agreement, the City, the CPD, and the City’s other relevant entities will develop
          a plan, in consultation with the Monitor and OAG, to conduct compliance re-
          views, audits, and community surveys deemed necessary and appropriate fol-
          lowing the termination of the Consent Decree. CPD will publish the plan for
          continuing assessments on CPD’s website.”




     44
          These stipulations—along with all other stipulations—are available on the IMT website:
          https://cpdmonitoringteam.com/reports-information/.


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     Conclusion
     The Consent Decree is a product of years of discussion, effort, and lessons learned.
     Through dedicated personnel and engaged community members, the City, the
     CPD, and other City entities have made meaningful changes to the Chicago Police
     Department.

     This report concludes the IMT’s comprehensive assessment of the Consent Decree
     to date. All of our previous reports demonstrate that there is much work to be
     done. It is our hope that our recommended changes to the Consent Decree will
     expedite tangible reform for the betterment of our city, its public servants, and its
     communities. And we look forward to monitoring any of the changes the City and
     the OAG choose to make.

     Conclusion, Figure 1.
     The Consent Decree’s Comprehensive Assessment Process (¶¶657–59)




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